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                            14   COUNCIL”), GREENPEACE, INC., DANIEL BRINDIS, AMY MOAS, and
                                 ROLF SKAR
                            15
                                                          IN THE UNITED STATES DISTRICT COURT
                            16
                                           NORTHERN DISTRICT OF CALIFORNIA: OAKLAND DIVISION
                            17
                                 RESOLUTE FOREST PRODUCTS, INC.,            Case No. 4:17-cv-02824-JST
                            18   RESOLUTE FP US, INC., RESOLUTE FP
                                 AUGUSTA, LLC, FIBREK GENERAL               DEFENDANTS’ NOTICE OF MOTION
                            19   PARTNERSHIP, FIBREK U.S., INC., FIBREK     AND MOTION FOR SUMMARY
                                 INTERNATIONAL INC., and RESOLUTE FP        JUDGMENT
                            20   CANADA, INC.,
                                                                            Complaint Filed: May 31, 2016
                            21              Plaintiffs,                     Amended Complaint Filed: November 8, 2017
                            22        v.                                    Hearing Date: April 20, 2023 at 2:00 pm
                            23   GREENPEACE INTERNATIONAL (aka
                                 “GREENPEACE STICHTING COUNCIL”),
                            24   GREENPEACE, INC., GREENPEACE FUND,
                                 INC., FORESTETHICS, DANIEL BRINDIS,
                            25   AMY MOAS, MATTHEW DAGGETT, ROLF
                                 SKAR, TODD PAGLIA, and JOHN AND JANE
                            26   DOES 1 through 20, inclusive,
                            27              Defendants.
                            28


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                             1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                             2          PLEASE TAKE NOTICE THAT ON April 20, 2023 at 2:00 p.m. in Courtroom 6 of the
                             3   U.S. District Court for the Northern District of California located at 1301 Clay Street, Oakland,
                             4   California, 94612, Greenpeace International, Greenpeace, Inc., Daniel Brindis, Amy Moas, and Rolf
                             5   Skar (collectively, the “Greenpeace Defendants” or “Defendants”) will and do hereby bring this
                             6   motion under Federal Rule of Civil Procedure 56 for summary judgment.
                             7          Through this motion, the Greenpeace Defendants seek summary judgment on and dismissal
                             8   of the remaining claims brought by Resolute Forest Products, Inc., Resolute FP US, Inc., Resolute
                             9   FP Augusta, LLC, Fibrek General Partnership, Fibrek U.S., Inc., Fibrek International Inc., and
                            10   Resolute FP Canada, Inc. (collectively, “Resolute” or “Plaintiffs”). This motion will be based on
                            11   this Notice of Motion and Motion, the following Memorandum of Point and Authorities, the
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                            12   Declaration of Lacy H. Koonce, III, and all exhibits thereto, all pleadings and papers on file herein,
                            13   the Reply the Greenpeace Defendants anticipate filing, and any oral and/or documentary evidence
                            14   as may be presented at the hearing in this matter.
                            15

                            16   Dated: December 19, 2022
                            17                                                 Respectfully submitted,
                            18
                                                                                /s/ Laura Handman
                            19
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                            24                                                  Counsel for Defendants Greenpeace
                                                                                International, Greenpeace, Inc., Daniel
                            25                                                  Brindis, Amy Moas, and Rolf Skar
                            26

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                             1                                       I.      INTRODUCTION
                             2          After nearly seven years of litigation, this case remains the same as the day it was filed—an
                             3   extraordinarily cynical attempt by the largest logging company in Canada to cut down legitimate,
                             4   First Amendment-protected speech by non-profit environmental groups daring to criticize that
                             5   company’s activities. This Court has recognized the significant constitutional values at risk here,
                             6   concluding years ago that this lawsuit arose from Defendants’ exercise of their free speech on “the
                             7   important public matter of environmental sustainability,” and awarding Defendants over $600,000
                             8   as a result. ECF No. 246 (“MTD Order”) at 31; ECF No. 314 at 8. Heedless of that Order, Resolute
                             9   has continued to act as a traditional SLAPP-plaintiff, filing countless discovery motions while
                            10   simultaneously—as the Court has found—“abus[ing] . . . the discovery process,” failing to “take
                            11   any reasonable steps to produce or preserve” certain documents, violating the Court’s discovery
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                            12   order, and demonstrating “bad faith and improper gamesmanship.” ECF No. 486 at 20-23.
                            13          In one respect only, Resolute has been successful: It has forced the Greenpeace Defendants
                            14   to spend a mountain of legal fees defending themselves against the sole remaining two statements
                            15   in this case. But that should end upon the Court’s adjudication of this motion because, despite three
                            16   years of a “highly contentious discovery process,” id. at 2, there is no genuine dispute as to any
                            17   material fact, entitling Defendants to summary judgment as a matter of law. Put simply, Resolute’s
                            18   legal claims are, in the end, unsustainable.
                            19          As this Court has reminded Plaintiffs: “This case is very limited: it is based only on
                            20   Defendants’ December 2016 and May 2017 statements that Plaintiffs were operating in the
                            21   Montagnes Blanches.” ECF No. 339 at 1. Discovery has undisputedly proven that Resolute cannot
                            22   establish any, let alone all, of the elements of defamation based on these two statements
                            23   (collectively, the “Challenged Statements”). Specifically, there is no genuine dispute as to any
                            24   material fact that the Challenged Statements are: (1) not defamatory; (2) substantially true and/or
                            25   protected opinion incapable of being proven true or false; (3) not made with actual malice; and
                            26   (4) that Resolute has not suffered any special damage as a result of the Challenged Statements.
                            27          As explored further below, discovery has shown that the Greenpeace Defendants have used
                            28   the term “Montagnes Blanches” consistently for years to refer to a specific mapped area they have
                                                                                  1
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                             1   campaigned to protect, rendering the two Challenged Statements true. Even were this not the case,
                             2   discovery has also shown that the name “Montagnes Blanches” has been used in myriad ways by
                             3   multiple groups. First, the term is colloquially understood by Québec citizens to refer to a general
                             4   eco-region in the north of the Saguenay-Lac-St-Jean administrative region—and Canadian
                             5   environmental groups, timber companies, and the Québec government have adopted the name to
                             6   refer to a variety of different boundaries within that region since 2006. For example, the Québec
                             7   Forest Ministry alone has used the Montagnes Blanches name over the past decades to refer to at
                             8   least three different geographic entities, and environmental NGOs have consistently used the name
                             9   to refer to a number of areas they believe should be protected from logging due to their high-
                            10   conservation value and importance to woodland caribou. Even Resolute has used the “Montagnes
                            11   Blanches” name inconsistently over time to refer to different areas when making its own proposals
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                            12   for areas to be protected from harvesting or responding to Defendants’ advocacy.
                            13          The fact that the name is capable of a variety of interpretations that have been deployed as
                            14   part of a fierce public debate over protection for woodland caribou, highlights that the Challenged
                            15   Statements were quintessentially statements made in the context of environmental advocacy,
                            16   protected by the First Amendment. Although Defendants always made clear which interpretation
                            17   of the Montagnes Blanches they were referring to, the Challenged Statements’ references to
                            18   Resolute operating “in the Montagnes Blanches” at a minimum constitute a matter of protected
                            19   opinion, incapable of being proven true or false. These references also are not defamatory, as the
                            20   Challenged Statements made very clear that Defendants were not accusing Resolute of illegally
                            21   operating in areas off-limits to logging—but rather in an area that was not protected but which
                            22   Defendants believed worthy of protection due to its conservation value. And they are true because
                            23   Resolute does not dispute that it was, in fact, operating in the area to which Defendants referred.
                            24          Further, there is no evidence, let alone clear and convincing evidence, that Defendants acted
                            25   with actual malice in making the Challenged Statements. The Court allowed the Challenged
                            26   Statements to proceed to discovery because Defendants made these statements after the Québec
                            27   Forest Minister, Laurent Lessard, published a press release in May 2016, which criticized
                            28   Greenpeace Canada’s map of the Montagnes Blanches. However, discovery has made clear that
                                                                                  2
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                             1   Minister Lessard published this press release at the direction of and in direct coordination with
                             2   Resolute—which filed this lawsuit the same day as the press release. The press release bizarrely
                             3   defined the Montagnes Blanches as an area that the Québec government had never before referred
                             4   to and which was inconsistent with the Ministry’s use of the Montagnes Blanches name from only
                             5   a month prior. In fact, the Ministry often aided Resolute’s efforts against Greenpeace Canada, even
                             6   sending the Deputy Minister abroad to meet with Resolute customers to discuss Greenpeace Canada
                             7   reports. Defendants accurately perceived Minister Lessard’s press release as politically motivated
                             8   and factually inaccurate. More importantly, they believed that it did not undermine the well-
                             9   established data and science that Greenpeace Canada relied on in creating its map of the Montagnes
                            10   Blanches (and which they had been campaigning on for at least six years), and that the Minister’s
                            11   press release talked past the issues Defendants sought to address, i.e., the need for additional
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                            12   protection of the eco-region. Accordingly, there is no evidence Defendants knew their interpretation
                            13   of the Montagnes Blanches was false and continued to use it—as required to find actual malice.
                            14          Finally, Resolute’s claim also fails because there is no evidence that the Challenged
                            15   Statements caused them to incur any damages—let alone special damages, which must be
                            16   particularly pleaded and proven. “Summary judgment is an integral part of the constitutional
                            17   protection afforded to defendants in [defamation] actions such as this,” which—as this Court has
                            18   found—arose from Defendants’ First Amendment right to free speech. Cerrito v. Time, Inc., 302 F.
                            19   Supp. 1071, 1075–76 (N.D. Cal. 1969), aff’d, 449 F.2d 306 (9th Cir. 1971). Because Resolute
                            20   cannot establish a genuine dispute of material fact with respect to any element of defamation,
                            21   Defendants respectfully request that the Court grant this motion for summary judgment.
                            22                                  II.     STATEMENT OF FACTS
                            23   A. History of the Montagnes Blanches Region and Various Uses of the Name “Montagnes
                                    Blanches”
                            24
                                        Since the early 2000s, many environmental groups in Canada have campaigned to protect a
                            25
                                 forest area called the “Montagnes Blanches” in Québec, due to the ecological value of the area and
                            26
                                 its importance to woodland caribou. See Ex. 1, Suppl. Expert Report of Pier-Olivier Boudreault
                            27
                                 (“Boudreault Report”) at 3-6. Over the years, both these groups and the Québec government have
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                             1   defined and utilized a number of different boundaries to refer to this region for a variety of purposes.
                             2   See id. at 3-4.1 Most of these boundaries overlap; all are generally located in the same forest region
                             3   in the north of the administrative region of Saguenay-Lac-St-Jean; and all use the term “Montagnes
                             4   Blanches.” See id. at 5. The name “Montagnes Blanches” or “White Mountains” itself comes from
                             5   a mountain range, river, and valley located around this same forest area; neither the Québec
                             6   government nor the environmental groups have ever based their boundary definitions specifically
                             7   around the peaks of the mountains. See Ex. 2, Dep. of Francis Forcier, representative of the Québec
                             8   Ministry of Forests (“Forcier”) at 73:16-74:2; 287:15-22 (testifying the Montagnes Blanches
                             9   mountain range extends far beyond the boundaries of the government’s 2008 Montagnes Blanches
                            10   proposed biodiversity preserve and the April 2016 Montagnes Blanches proposed caribou reserve,
                            11   even though all three areas use the same name); Ex. 3, Dep. of Greenpeace Canada employee Shane
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                            12   Moffatt (“Moffatt”) at 41:21-42:6 (noting that Québec citizens refer to the broad forest eco-region
                            13   as the “Montagnes Blanches” to “reflect that the area is in part home to a white mountain range”).
                            14            The first mentions in the public sphere of the “Montagnes Blanches” as an area for ecological
                            15   protection date back to a February 2006 campaign initiated by “Aux Arbres Citoyens,” a collective
                            16   of Canadian environmental groups. Ex. 1 at 5. The Canadian Parks and Wilderness Society (CPAWS
                            17   Québec), Nature Québec, the World Wildlife Fund, and the Québec Network of Ecological Groups
                            18   launched this historic campaign, gathering over 180,000 signatures from Canadian citizens to
                            19   protect a sector they called the “Montagnes Blanches Valley” sector. Ex. 1 at Ex. 1 to Boudreault
                            20   Report. The collective defined and mapped the Montagnes Blanches Valley sector, describing its
                            21   ecological value based on the presence of woodland caribou and intact forests. Id.; see also Ex. 1
                            22   at Annex A-1.
                            23            In May 2008, the Québec Government established an area named the “Montagnes Blanches
                            24   Proposed Biodiversity Reserve,” a proposed protected area within the Montagnes Blanches sector
                            25   defined two years earlier by Aux Arbres Citoyens, but significantly smaller than that sector. Ex. 1
                            26   at 6-7; see also id., Annex A-2. This reserve never achieved permanent status and was later absorbed
                            27   into a larger protected area in 2021. Id. at 7.
                            28   1
                                     Exhibits to this motion are attached to the accompanying Declaration of Lacy H. Koonce, III.
                                                                                     4
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                             1           In 2010, non-party Greenpeace Canada commissioned Global Forest Watch Canada
                             2   (“GFWC”)—a “scientific organization [with] lead experts in mapping [who] use remote satellite
                             3   data” and “have a specialization in . . . priority assessment for conservation areas,” Ex. 4, Dep. of
                             4   Pier-Olivier Boudreault (“Boudreault”) at 108:3-109:6—to perform a mapping analysis of the
                             5   ecological values of Québec’s last intact forests, in order to identify which areas were most
                             6   important to conserve. See Ex. 5 at 29. GFWC analyzed the following twelve ecological values:
                             7   presence of old forests, presence of wetlands, area of intact forests, variety of bird species, variety
                             8   of tree species, net carbon flow, critical habitat of woodland caribou, proximity to protected areas,
                             9   mammal diversity, reptile and amphibian diversity, carbon concentration in the soil, and presence
                            10   of lakes and rivers. See id. Based on this analysis, GFWC identified and mapped several “priority
                            11   areas,” which Greenpeace Canada published in a 2010 report called “Boreal Refuge: Report on the
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                            12   Last Large Intact Forests of the Québec Forest Territory” (Ex. 5, “Boreal Refuge Report”). One of
                            13   these priority areas, which overlapped substantially with the Montagnes Blanches Valley Sector
                            14   previously mapped by Aux Arbres Citoyens, was named the “Montagnes Blanches Priority Area.”
                            15   Id. at 31-33; see also Ex. 1 at 5. In the Boreal Refuge Report, Greenpeace Canada refers separately
                            16   to the “Montagnes Blanches proposed biodiversity reserve” and the “Montagnes Blanches range,”
                            17   making clear these entities are distinct from the “Montagnes Blanches Priority Area.” Ex. 5 at 31.
                            18           Also in 2010, 21 forest companies including Resolute, led by the Forest Products Association of
                            19   Canada (“FPAC”), and nine environmental organizations including Greenpeace Canada, entered into
                            20   the Canadian Boreal Forest Agreement (“CBFA”). Ex. 6 at 1. Under the agreement, the forest companies
                            21   agreed to temporarily defer logging in certain portions of the caribou ranges in the boreal forest. See id.
                            22   at 28-29. However, in December 2012, Greenpeace Canada withdrew from the CBFA, citing lack of
                            23   progress towards certain goals and pointing out apparent violations by Resolute where it appeared to be
                            24   logging in areas where it had agreed to defer logging.2 Ex. 7 (Skar) at 53:13-54:16, 62:7-14.
                            25           In 2012, GFWC and Greenpeace Canada published a further refinement of the analysis of
                            26

                            27   2
                                  Non-party Greenpeace Canada later retracted its statements about Resolute logging in these areas,
                            28   after concluding it had inadvertently relied on inaccurate data. Ex. 7, Dep. of Rolf Skar (“Skar”) at
                                 82:1-83:24. It did not return to the CBFA, however, given its other reasons for withdrawal.
                                                                                   5
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                             1   the priority areas identified in the Boreal Refuge Report and examined the areas “again for
                             2   ecological significance and threats from encroaching development and logging in particular.” Ex.
                             3   8 at 11; Ex. 3 (Moffatt) at 41:4-9 (noting this adjustment was made to “encapsulate the information
                             4   provided to Greenpeace Canada by Global Forest Watch in terms of the areas of highest
                             5   conservation value”).3 This refinement resulted in the identification of five endangered forest areas
                             6   in Canada, which were of high conservation value and in need of government protection from
                             7   unsustainable forestry operations. Ex. 8 at 11.
                             8           In December 2012, Greenpeace Canada published a report called “Boreal Alarm: A Wake-
                             9   Up Call for Action in Canada’s Endangered Forests” (Ex. 8, “Boreal Alarm Report”), which
                            10   presented these five forest areas, described their ecological value, and explained that they were
                            11   endangered in part because they were largely unprotected by Canadian law and thus available for
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                            12   logging by forestry companies.4 See generally id. One of the five forests was called the “Montagnes
                            13   Blanches Endangered Forest” (“MBEF”). The MBEF largely overlapped with the 2010 boundaries
                            14   of the Montagnes Blanches Priority Area, but extended further westward based on GFWC and
                            15   Greenpeace Canada’s aforementioned additional analysis of the data. Id. at 11; Ex. 1 at 5. Like the
                            16   2010 Boreal Refuge Report, the 2012 Boreal Alarm Report refers separately to the Montagnes
                            17   Blanches mountain range—making clear that this entity was distinct from the MBEF. Ex. 8 at 13.5
                            18
                                 3
                                    The Greenpeace Defendants were not involved in the mapping of these priority areas or in the
                            19   initial selection and use of the “Montagnes Blanches” name. Ex. 9, Jan. 18, 2022 Dep. of Amy
                            20   Moas (“Moas 30(b)(6)”) at 48:3-11; Ex. 10, Dep. of Matthew Daggett (“Daggett”) at 58:2-59:25;
                                 Ex. 11, Nov. 17, 2021 Dep. of Amy Moas (“Moas”) at 137:17-19.
                                 4
                            21      While there is no official definition of “endangered forest” by the Canadian or Québec
                                 governments, the Wye Group was established in April 2001 as a forum among a broad group of
                            22   environmental NGOs and industry participants “to define and identify the characteristics of
                                 Endangered Forests, and propose purchaser actions in relation to these forests.” Ex. 12 at 3; see also
                            23   Ex. 7 (Skar) at 65:5-67:17. Mr. Daggett, former employee of Greenpeace International, testified that
                            24   his understanding was that GFWC relied, at least in part, on the Wye Group’s articulation of
                                 “endangered forests” in its work for Greenpeace-Canada. Ex. 10 (Daggett) at 57:22-59:25.
                            25   Likewise, Ms. Moas testified she understood Greenpeace Canada used the term “endangered forest
                                 . . . to talk about [an] area that was really important for conservation reasons”—as well as that the
                            26   area was “under threat” and in danger “of disappearing if additional protections were not secured.”
                                 Ex. 9 (Moas 30(b)(6)) at 30:1-31:16; 38:15-39:13.
                            27   5
                                    Significantly, Greenpeace Canada’s extension of the MBEF preceded Resolute’s purchase, at
                            28   government auction, of the logging sites discussed later in the Clearcutting Free Speech Report
                                 (infra at 15-16). See Ex. 13, Dep. of Francois Dumoulin (“Dumoulin”) at 189:1-190:5.
                                                                                    6
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                             1            After 2012, the remaining CBFA parties, including Resolute, raised different proposals for
                             2   the permanent protection of areas in Québec from timber harvesting. Resolute in particular routinely
                             3   used the term “Montagnes Blanches” to identify the areas being discussed. See Ex. 14 at RFP-
                             4   0001264 (“Resolute and ENGOs also support the creation of large protected areas in . . . [t]he
                             5   Montagnes Blanches area”); Ex. 15 at RFP-0000802 (referring to “Montagnes Blanches package”);
                             6   Ex. 16 at RFP-0000174 (“industry presented a proposal that consisted of . . . [p]rotection of the
                             7   Montagnes Blanches”). Resolute also recognized there was no clear definition of the “Montagnes
                             8   Blanches.” Ex. 17 (in response to pulp customer asking Resolute to ensure no deliveries of pulp
                             9   sourced from “disputed sectors” such as the Montagnes Blanches, Resolute Forestry Director
                            10   Francois Dumoulin noted the “question is problematic in the sense that the Montagnes Blanches
                            11   territory is not a clearly defined territory . . . . Greenpeace is presenting its own definition, but other
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                            12   environmental groups have proposed different divisions.”)6; Ex. 18 at RFP-0025013 (“I want to
                            13   clarify that there is no area ‘generally accepted’ as the Montagnes Blanches.”).
                            14            In 2015, CPAWS Québec and three other environmental organizations proffered some new
                            15   proposals for the creation of two large protected areas in the Montagnes Blanches and Broadback
                            16   River Valley sectors. Ex. 1 at 10-12. CPAWS Québec concentrated on the Montagnes Blanches
                            17   region due to the ecological importance of this sector demonstrated in the Aux Arbres Citoyens
                            18   campaign as well as the presence of several high-priority caribou conservation sectors in this area
                            19   as defined by the Québec Woodland Caribou Re-establishment Team. Id. at 11. Six of these caribou
                            20   conservation sectors fell within the boundaries of Greenpeace Canada’s MBEF map. See id. at 12;
                            21   see also Ex. 4 (Boudreault) at 128:6-129:2.
                            22            In February 2016, Greenpeace-Canada published a report titled “Endangered Forests in the
                            23   Balance: The Impact of Logging Reaches New Heights in the Montagnes Blanches Endangered
                            24   Forest” (hereinafter, the “EFB Report”), which included a map using the same Montagnes Blanches
                            25   boundaries as depicted in the Boreal Alarm Report. Ex. 19 at 4. The EFB Report described the high
                            26   ecological value of the MBEF, stated that it was largely unprotected from logging by the
                            27

                            28   6
                                     See also Ex. 13 (Dumoulin) at 143:6-144:9.
                                                                                    7
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                             1   government, and explained that its unique features were threatened by industrial logging.7 Id. at 2.
                             2   The EFB Report also described Resolute’s sourcing of wood from this area, stating, for example,
                             3   that from “2013 to 2014, Resolute successfully bid on approximately 175,000 [cubic meters] of
                             4   wood from 2,200 hectares located directly within the Montagnes Blanches Endangered Forest.” Id.
                             5   at 3. At his deposition, Mr. Forcier testified that this statement was correct; and that it was also clear
                             6   that the EFB Report was not accusing Resolute of logging in the 2008 proposed Montagnes Blanches
                             7   Biodiversity Reserve—which was off-limits to logging. Ex. 2 (Forcier) at 199:4-201:9.
                             8           In April 2016, the Québec Ministry proposed another caribou protection area within what it
                             9   called the “Montagnes Blanches sector.” Ex. 1 at 13-14; see also id., Annex A-5. This proposed area
                            10   extended beyond the 2008 Montagnes Blanches Biodiversity Reserve and aimed to protect
                            11   approximately 10,000 kilometers for the caribou. See id. Notably, Resolute’s CEO Richard Garneau
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                            12   criticized the Ministry’s April 2016 action plan, stating to the Canadian media: “There are major
                            13   principles that have been announced, there is talk of increasing the protection of the White
                            14   Mountains . . . . We know that the White Mountains are the territory that will ensure the
                            15   sustainability of forest harvesting over the next 20 years, which will allow us to maintain jobs, which
                            16   will allow us to maintain the harvest. There is absolutely nothing quantified.” Ex. 20. When
                            17   reviewing this statement from Mr. Garneau at his deposition, Mr. Forcier from the Québec Ministry
                            18   stated: “It is clear here that when the Government of Québec talks about the White Mountains and
                            19   when Mr. Richard Garneau talks about the White Mountains they’re not referring to the same thing
                            20   . . . . It would seem that Mr. Garneau is referring to the whole north of the Saguenay-Lac-St-Jean
                            21   region.” Ex. 2 (Forcier) at 142:19-144:24.
                            22   B. Resolute Coordinates with the Québec Minister of Forestry Laurent Lessard to Criticize
                                    Greenpeace Canada’s Conservation Campaign on the Montagnes Blanches.
                            23
                                         Resolute took offense to Greenpeace Canada’s EFB Report, though it never produced
                            24

                            25
                                 7
                                   The report also noted that: “Not all Endangered Forests are necessarily facing imminent extinction
                            26   or complete degradation: however, due to the threats posed by one or more stressors (climate change,
                                 industrial use, urbanization, etc.), they are in danger of losing their ability to function as complete
                            27
                                 and intact, natural ecosystems, and thereby to continue supporting numerous species and essential
                            28   ecological processes. . . . Greenpeace and other conservation organizations developed a set of
                                 common criteria to define Endangered Forests.” Ex. 19 at 2.
                                                                                    8
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                             1   evidence any of the claims therein were false. Still, Mr. Garneau emailed Québec Forest Minister
                             2   Laurent Lessard on March 28, 2016, attaching a copy of the EFB Report and calling it a “[n]ew
                             3   Greenpeace intimidation campaign still targeting Resolute customers.” Exs. 21 & 22. Mr. Garneau
                             4   complained to Minister Lessard that the EFB Report “[s]pecifically targets the White Mountains
                             5   (2.3 million hectares – between .7 and 1 cubic meter per hectare per year),” includes a “[l]ist of
                             6   sawmills sourcing from this sector now and in the future,” and “[s]eems to make it clear that the
                             7   disturbance is the cause of [caribou] population decline.” Ex. 21. Mr. Garneau then twice emailed
                             8   Minister Lessard on April 2, 2016 with more complaints. Ex. 23 at RFP-0037903 (stating “And this
                             9   is the rest of the letter Greenpeace sent to clients last week with the request for the White Mountains
                            10   to be protected. . . . Both organizations [including NRDC] are increasing the level of blackmail with
                            11   clients”); see also Ex. 24 at RFP-0037905 (criticizing NRDC, CPAWS, and SNAP as “activists who
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                            12   destroy communities,” claiming they want to “turn a partial victory into a full victory . . . After the
                            13   victory achieved on the mid-coast rainforest . . . come Broadback and the White Mountains”).8
                            14           After receiving these messages from Mr. Garneau, the Ministry started working on a public
                            15   response to the EFB Report and even asked Mr. Garneau for “a few ideas” they could use for the
                            16   press release. See Ex. 27 at RFP-0038642 (May 25, 2016 email exchange in which Mr. Garneau
                            17   sends a news article about the EFB Report to a Ministry employee, who responds: “Ok re the
                            18   minister. . . . We will also prepare a press release that Catherine will send to all the media. So, if
                            19   you have a few ideas . . . .”)9; see also Ex. 2 (Forcier) at 265:3-266:20 (noting the Ministry
                            20   collaborated with forestry companies like Resolute to obtain a list of their clients who could have
                            21   received the EFB Report); Ex. 29 at 5 (same).10 In crafting its response, the Ministry decided to
                            22
                                 8
                                    Mr. Garneau appears to have had a close relationship with Minister Lessard, sometimes even
                            23   emailing him via the Minister’s personal email address. See Exs. 25 & 26.
                                 9
                            24     This was not the first time that the Ministry coordinated with Resolute before sending out a press
                                 release. See Ex. 28 at RFP-0001312 (November 2015 email from Resolute employee stating she is
                            25   “sending a press release to be issued shortly by Minister Laurent Lessard”).
                                 10
                                    The Ministry regularly aided Resolute in its business efforts—even sending Deputy Minister
                            26   Richard Savard, abroad to North America and Europe to meet with Resolute customers and assure
                                 them of Resolute’s allegedly sustainable practices. See Ex. 30 (June 2014 document discussing
                            27
                                                                                                                   ); Ex. 31 at RFP-
                            28   0034722 (July 2015 draft letter to Lowes from Resolute stating: “

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                             1   publish—for the first time—a new map in which it defined the “Montagnes Blanches Sector” as
                             2   limited to a certain area known as the “Massif de Manouanis.” See Ex. 2 (Forcier) at 286:5-16
                             3   (testifying that prior to Minister Lessard’s May 2016 statement, the Québec Government had never
                             4   “publically [sic] equated the Massif de Manouanis with the Montagnes Blanches”); see also Ex. 32
                             5   at 2 (May 26, 2016 email from the Québec Wood Marketing Office to the Québec Forest Ministry
                             6   responding to request related to the drafting of this public response, stating: “[W]e do not have a
                             7   sector outline for the White mountains. However, the regional office will take care of making a map
                             8   and show that the forest planning . . . respects protected areas”). The Massif de Manouanis is not all
                             9   off-limits from logging; rather, only part of the region falls within the administrative protective
                            10   zones. See Ex. 2 (Forcier) at 286:17-287:6; see also ECF No. 254-2 at 4. Additionally, the Minister’s
                            11   map overlaps with part of the Greenpeace Canada MBEF map. See Ex. 1 at 14.
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                            12          The Ministry published this new map along with the rest of its public response to the EFB
                            13   Report on May 31, 2016. See Ex. 33 (the “Lessard Statement”). In the Lessard Statement, the
                            14   Ministry claimed that the map published by Greenpeace Canada in the EFB Report “extends well
                            15   beyond the Montagnes Blanches sector officially recognized by the Québec government for the
                            16   protection of woodland caribou. The central part of the Manouanis natural region, where the
                            17   Montagnes Blanches sector is located, contains old forests that may be up to two hundred years old
                            18   and have been spared by fire. On the other hand, the surrounding sectors have largely been shaped
                            19   by fire.” Id. at RFP-0038883. The Lessard Statement concludes by referencing the aforementioned
                            20   April 2016 action plan for caribou protection in the Montagnes Blanches sector. Strangely, however,
                            21   the map in the Lessard Statement contradicted the definition of the Montagnes Blanches sector that
                            22   the Ministry used just one month prior in the April 2016 action plan. See Ex. 20; see also Ex. 1 at
                            23   13-14 & Annex A-5. Indeed, Mr. Forcier from the Québec Ministry conceded that the Montagnes
                            24   Blanches sector “that was described in the April . . . 2016 . . . caribou rehabilitation plan” covered
                            25

                            26

                            27

                            28
                                                                                        ”).
                                                                                 10
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                             1   10,000 kilometers, while the Montagnes Blanches area identified in the Lessard Statement covered
                             2   only 8,000. Ex. 2 (Forcier) at 224:19-225:22 (admitting that in April 2016, the Ministry “was
                             3   comfortable calling a much larger region the White Mountain sector” than in May 2016). After
                             4   publishing the Lessard Statement, the Minister’s Chief of Staff personally requested her deputy send
                             5   copies directly to Mr. Dumoulin at Resolute. See Ex. 34. Mr. Dumoulin then remarked to his
                             6   colleague Marc Bedard that Minister Lessard “took it upon himself to ensure he had an English
                             7   version” of the Lessard Statement. See Ex. 35.
                             8   C. The Same Day the Ministry Publishes the Lessard Statement, Resolute Files this Lawsuit
                                    in the Southern District of Georgia, Asserting Defamation and RICO Claims.
                             9
                                        The same day the Ministry published the Lessard Statement, Resolute filed this lawsuit in the
                            10
                                 U.S. District Court for the Southern District of Georgia, asserting alleged violations of the Racketeer
                            11
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                                 Influenced and Corrupt Organizations Act and various state laws, including defamation. Compare Ex.
                            12
                                 33, with ECF No. 1 (“Compl.”). On this day, Resolute employee Seth Kursman also sent a copy of a
                            13
                                 press release titled “Resolute Files Racketeering Suit Against Greenpeace” to Martin Pelletier,
                            14
                                 Director of Coordination and Strategic Orientations at the Québec Ministry. Ex. 36.
                            15
                                        Resolute’s Complaint retread much of the same ground as an earlier lawsuit it filed against
                            16
                                 Greenpeace Canada in 2013 (“Canadian Action”). See ECF No. 62 at 6-8. It identified all of the
                            17
                                 alleged defamatory statements set forth in that case—including statements by Greenpeace Canada
                            18
                                 regarding the CBFA and Resolute’s Forest Stewardship Council (“FSC”) certificates—seeking to
                            19
                                 hold the Greenpeace Defendants liable for many of the same facts it was asserting in Canada. See
                            20
                                 id. at 7. Among its numerous allegedly defamatory statements by Greenpeace Canada, the
                            21
                                 Complaint included the Boreal Alarm Report and the EFB Report. See Compl. at 96-97.
                            22
                                 D. Greenpeace Canada and Other Canadian Environmental Groups Respond to the Lessard
                            23      Statement. The Greenpeace Defendants Agreed the EFB Report Remained Accurate.

                            24          In response to the Lessard Statement’s claims regarding the Montagnes Blanches, CPAWS

                            25   Québec published a press release on June 6, 2016 titled: “Are the Montagnes Blanches protected?”

                            26   Ex. 1 at 14. Therein, CPAWS Québec criticized several aspects of the Lessard Statement—noting

                            27   the Ministry’s plan “[u]nder no circumstances” provided “long-term protection of the territory” for

                            28

                                                                                  11
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                             1   caribou; and also disputing the Lessard Statement’s characterization of the Northern Limit11 as
                             2   protecting “almost 90% of intact forest landscapes . . . .” Id., Ex. 14 to Boudreault Report.12
                             3            Greenpeace Canada also assessed how to respond to the Lessard Statement, and considered
                             4   drafting an op-ed to set “the record straight on the [EFB] report as well as clarify[] our goals of the
                             5   campaign . . . .” Ex. 40 at GPDEFS00028780. The Greenpeace Defendants were not substantively
                             6   involved in handling this response, as the EFB Report was a Greenpeace Canada report. See Ex. 9
                             7   (Moas 30(b)(6)) at 121:7-125:23 (recalling she discussed the Lessard Statement on a call with the
                             8   “Greenpeace Canada team,” and they agreed that Mr. Lessard’s criticisms of the Greenpeace Canada
                             9   map were unwarranted and did not change the accuracy of the map; and that someone might draft a
                            10   rebuttal to the Lessard Statement, but she was not part of that team); Ex. 3 (Moffatt) at 149:4-19
                            11   (stating he did not recall discussing the Lessard Statement with Greenpeace U.S. colleagues, but did
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                            12   recall discussing it with colleagues in Québec).13
                            13            Nonetheless, those of the Greenpeace Defendants who did read the Lessard Statement at the
                            14   time (or were asked to analyze it in their depositions) felt strongly it was comparing “apples to
                            15   oranges,” in comparing the EFB Report’s map—which Greenpeace Canada defined as an area of
                            16   high-conservation value worthy of protection, and which they had been campaigning on for at least
                            17   six years—against a never-before-seen government map that was not discussing the same topic as
                            18   Greenpeace Canada’s map, the need for additional protection. See Ex. 11 (Moas) at 121:9-122:19;
                            19
                                 11
                            20       The “northern limit” is a boundary “defined by the Canadian government . . . which separates
                                 unmanaged forests in the north . . . from productive forests in the south,” available for logging. Ex. 37,
                            21   Dep. of Maik Marahrens (“Marahrens”) at 99:15-22.
                                 12
                                    In December 2017, CPAWS Québec published an interactive map of the Montagnes Blanches sector,
                            22   showing the approximate boundaries of the region and demonstrating that an area of critical importance
                                 for caribou had been excluded from the government’s announced protected region. Ex. 1 at 16-17; see
                            23   also                     Ex.                     38,                      available                     at
                            24   https://www.arcgis.com/apps/Cascade/index.html?appid=532fb77e7a1f48369d5110794685633c.
                                 CPAWS Québec also created a web page dedicated to the Montagnes Blanches sector, which is still online
                            25   now. Ex. 39, available at https://snapQuebec.org/les-montagnes-blanches/. These resources do not use
                                 the definition of the Montagnes Blanches boundaries from the Lessard Statement, rather, they refer to the
                            26   “Montagnes Blanches” mostly “for communication reasons, in order to make this important sector better
                                 known to the general public and to stakeholders.” Ex. 1 at 17-18.
                            27   13
                                    Other employees of Greenpeace U.S. and Greenpeace International did not recall seeing and/or hearing
                            28   about the Lessard Statement during this time. See Ex. 41, Dep. of Daniel Brindis (“Brindis”) at 236:3-12;
                                 Ex. 10 (Daggett) at 197:13-14; Ex. 42, Dep. of Eugenie Mathieu (“Mathieu”) at 138:7-139:15.
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                             1   see also Ex. 7 (Skar) at 215:8-219:7 (the Lessard Statement “was talking past the issues that . . . we
                             2   were trying to address,” and “seemed to be talking about something else, like mentioning areas that
                             3   were not allocated for logging, . . . In the reports, . . . we are clear that we’re pushing for new
                             4   conservation measures to be taken. So we’re not talking about the area that has been set aside.
                             5   We’re talking about the need to expand the conservation”); Ex. 41 (Brindis) at 238:24-239:8 (the
                             6   Lessard Statement “made a lot of straw man arguments or mischaracterized what we were saying .
                             7   . . [H]is statements were actually talking over us . . . .”); Ex. 37 (Marahrens) at 111:4-112:4 (stating,
                             8   when we “talked about the Montagnes Blanches Endangered Forest area, . . . we had a clear
                             9   definition for it and a clear explanation for it, . . . the government had its take, other people had their
                            10   take, we had ours and we explained ours”). Amy Moas testified it seemed clear that Minister
                            11   Lessard did not understand the EFB Report; and his statements in no way undermined the “well-
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                            12   established data and information” that Greenpeace Canada relied on to make its claims and create
                            13   its map. Ex. 9 (Moas 30(b)(6)) at 203:6-13.
                            14           This “apples to oranges” view is consistent with the fact that the name “Montagnes
                            15   Blanches” is colloquially understood by Québec citizens, if at all, to refer to a general region mainly
                            16   to the north in the administrative region of Saguenay-Lac-St-Jean—not to the specific five mountain
                            17   peaks themselves and certainly not to a map that the Québec Ministry published for the first time in
                            18   May 2016. See Ex. 3 (Moffatt) at 42:7-43:11 (noting that based on “spending a good bit of time in
                            19   Quebec; speaking with my colleagues who are from Quebec, live in Quebec; speaking with other
                            20   environmentalists in Quebec about this forest . . . looking at media articles which discuss the
                            21   Montagnes Blanches, [and] reading about journalists’ coverage on the Montagnes Blanches” it was
                            22   clear that the Montagnes Blanches term “was and continues to be common in Quebec to refer to this
                            23   broad eco-region of high conservation value forests”); see also Ex. 1 at 18 (noting that, as a result
                            24   of “several campaigns by environmental and citizens’ groups” in Québec since the 2000s, the
                            25   Montagnes Blanches name “has been mentioned regularly in the public sphere and [its] existence
                            26   has progressively been materialized in the collective imagination of Quebeckers. They are not
                            27   limited to a specific government or ministerial designation (Minister Lessard) or protected area, but
                            28   rather to a much larger area with many conservation values that are important to protect for the
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                             1   conservation of boreal biodiversity.”); Ex. 11 (Moas) at 63:2-25 (based on “work with supporters
                             2   and the public in Canada” the “Montagnes Blanches is a region . . . [,which] to the average person
                             3   is undefined, just like lots of other examples of regions . . . like the Rockies,” and stating that “[w]e
                             4   used the term so that the average person in Canada would know generally where we are talking
                             5   about”). Even Mr. Forcier from the Québec Ministry agreed that the “official name Montagnes-
                             6   Blanches or White Mountains doesn’t seem to be official, it’s more popular, more common.” Ex. 2
                             7   (Forcier) at 91:2-7.
                             8          The Greenpeace Defendants also testified it was not unusual for provincial governments like
                             9   the Québec Ministry to make statements in support of the forestry industry—at the expense of
                            10   environmental protection—as such governments often share incentives parallel to those of industry.
                            11   See Ex. 7 (Skar) at 223:11-15 (“It’s not unusual for a government official, who is in charge of
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                            12   something like forestry, to . . . use that sort of language, to say . . . ‘There’s nothing wrong. There’s
                            13   no room for improvement here. And these NGOs . . . I strongly disagree with them.’”); see also Ex.
                            14   41 (Brindis) at 238:1-13 (“I think that the . . . Ministry of Forestry . . . has had messaging . . . that
                            15   are in support of Resolute. They’ve even invested public moneys [sic] into . . . marketing Quebec
                            16   forestry and forest products from Quebec for the international market. So I think that they . . . have
                            17   a lot of shared interest with Resolute”). Ms. Moas further testified that Minister Lessard was “highly
                            18   politicized” and “not an unbiased figure” whose “job was to make sure that the logging industry in
                            19   Canada continued.” Ex. 11 (Moas) at 123:19-25 (noting Lessard had “a vested interest in the forestry
                            20   industry, . . . [and his statement] was basically the equivalent of Resolute saying these things to us”).
                            21   E. Greenpeace Canada and the Greenpeace Defendants Continued to Campaign to Protect
                                    the Montagnes Blanches and Also Campaigned Against Resolute’s Filing of Multiple
                            22      Lawsuits Designed to Chill Their Speech.
                            23          Throughout 2016 and 2017, Greenpeace Canada and the Greenpeace Defendants continued
                            24   to perform their duties as environmental advocates by publishing statements regarding their
                            25   continued concern over the lack of protection for high-priority conservation areas in the Canadian
                            26   Boreal Forest, such as the Montagnes Blanches. On December 16, 2016, Ms. Moas sent a letter—
                            27   signed by herself and Shane Moffatt of Greenpeace Canada—to several publishing companies that
                            28   purchased paper from Resolute (Ex. 43, the “December Letter”). The letter called on the publishing

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                             1   companies to assess whether their purchases from Resolute were in compliance with the companies’
                             2   sustainability policies and to “communicate your sustainability expectations to [Resolute] directly.”
                             3   See id. at GPDEFS00029547 & 50. The December Letter included several examples of Resolute’s
                             4   unsustainable practices as well as its campaign to silence free speech by filing multiple lawsuits
                             5   against Greenpeace entities. See generally id.
                             6           Regarding the Montagnes Blanches, the December Letter stated: “In particular, in the
                             7   Montagnes Blanches Forest in Quebec, there are three caribou herds, and in the Caribou Forest in
                             8   Ontario there is an additional herd where habitat disturbance, including some from Resolute’s
                             9   operations, is jeopardizing their survival.” Id. at GPDEFS00029548. This sentence included a
                            10   footnote to a government publication by Environment Canada called “2012 Recovery Strategy for
                            11   the Woodland Caribou” as well as a report by caribou scientist, Tyler Rudolph. Id. at n.5. The
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                            12   December Letter also included a link to the EFB Report, which showed Greenpeace Canada’s
                            13   MBEF map. Id. at GPDEFS00029549 n.11. During his deposition, Mr. Dumoulin conceded: “some
                            14   of the habitat disturbance [mentioned in the December Letter wa]s from Resolute’s operations,”
                            15   stating “it is true that some of the . . . harvesting has been done by Resolute . . . .” Ex. 13 (Dumoulin)
                            16   at 264:3-6.
                            17           Ms. Moas explained that the Greenpeace Defendants used the term “Montagnes Blanches
                            18   Forest” in the December Letter instead of “Montagnes Blanches Endangered Forest” because, by
                            19   that time, Greenpeace Canada had “moved away from the term endangered forest . . . because of
                            20   First Nation concerns . . . .” Ex. 11 (Moas) at 175:2-15; see also id. at 101:9-103:1 (explaining that
                            21   at the time environmental advocacy groups had originally defined the criteria for endangered forests,
                            22   the First Nation indigenous communities in Canada were not consulted, and so because the term
                            23   carried some baggage for these communities, the Greenpeace entities ultimately ceased using it).
                            24           On May 17, 2017, Ms. Moas and her colleagues published a report called “Clearcutting Free
                            25   Speech: How Resolute Forest Products is going to extremes to silence critics of its controversial
                            26   logging practices” (Ex. 44, the “Clearcutting Report”). This report was largely aimed at criticizing
                            27   Resolute for suing the Greenpeace entities for millions of dollars instead of working collaboratively
                            28   to find lasting solutions for the Canadian forests. See id. at 2. The Clearcutting Report also itemized
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                             1   several critiques of Resolute’s forestry practices.
                             2           Most relevant here, the report criticized Resolute’s operations in the Montagnes Blanches,
                             3   showing the same map of the Montagnes Blanches boundaries that Greenpeace Canada had been
                             4   using since the 2012 Boreal Alarm Report. See id. at 28. The Report described the process by which
                             5   a forestry company like Resolute acquires wood allocation rights under the Québec government’s
                             6   system and then identified three such areas that Resolute had acquired within the Montagnes
                             7   Blanches Forest under this process. Specifically, the Clearcutting Report stated that:
                             8        In Northern Québec, Resolute logs in and sources from a large geographic area managed
                                      directly by the Québec provincial government. Resolute is given timber volume allocations
                             9        alongside other forestry companies operating in the region. The exact harvesting areas for
                                      each company are not made public by the provincial government. However, a parallel
                            10
                                      auction system allocating additional harvesting rights allows for the identification of at
                            11        least a few company-specific areas of operation. Through this process, since 2013,
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                                      Resolute has acquired three harvest blocks through auction sales inside the Montagnes
                            12        Blanches, an area of forest with high conservation values that local organizations have for
                                      years sought to protect. The Devau, Bonnard and Tremblay sites total 3,719 hectares and
                            13        included intact forest and caribou habitat. All three sites have been logged; the Tremblay
                                      site being most recent, with logging completed in winter 2016/2017.
                            14

                            15   Id. (footnotes omitted). The Report also included satellite images of these three harvest blocks,

                            16   showing that all three had been logged since 2013. See id. at 27. Resolute has never contested that

                            17   it purchased or logged these three sites or that, by definition, such sites were legal for logging. In

                            18   fact, multiple Resolute employees conceded that Resolute did operate within the area identified in

                            19   the Clearcutting Report. See Ex. 45, Jan. 19, 2022 Dep. of Marc Bedard (“Bedard”) at 148:22-25

                            20   (“[W]e were logging in what Greenpeace called the . . . Montagnes Blanches . . . . We knew that”).

                            21   F.   This Court Dismisses Almost All Claims, Rules It Is a SLAPP-Case, Awards Fees.
                                         On November 8, 2017, Resolute amended its Complaint to include several new statements
                            22
                                 it alleged were defamatory, including the December Letter and the Clearcutting Report. ECF No.
                            23
                                 185 (“Am. Compl.”) ¶¶ 173, 218. On January 22, 2019, the Court dismissed almost all of Resolute’s
                            24
                                 claims with prejudice—including the RICO claims and defamation/UCL claims based on 294 out
                            25
                                 of 296 statements. See generally MTD Order. Regarding these 294 statements, the Court found:
                            26
                                 (1) statements regarding the CBFA were published outside of the statute of limitations by non-
                            27
                                 parties; (2) statements about Resolute’s FSC certificates were “neither materially false nor provably
                            28

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                             1   false”; and (3) the remaining statements either failed “to allege actual malice or . . . [were] statements
                             2   . . . of opinion.” Id. at 16-17, 19-20. The Court also noted that Resolute failed “to plausibly allege
                             3   that any Defendant is responsible for statements by non-party Greenpeace Canada.” Id. at 15.
                             4   Additionally, in its Order, the Court concluded that Resolute’s lawsuit constituted a SLAPP action
                             5   because it arose “from an act by the defendant made in connection with a public issue in furtherance
                             6   of the defendant’s right to free speech[,] . . . the important public matter of environmental
                             7   sustainability.” Id. at 31. Accordingly, the Court awarded the Greenpeace Defendants attorneys’
                             8   fees and costs arising from the claims that were dismissed from the case, in the amount of
                             9   $545,572.36 in fees and $20,687.18 in costs. ECF No. 314 at 8.
                            10           The only two allegedly defamatory statements that the Court did not dismiss from the case
                            11   were the Montagnes Blanches statements from the December Letter and the Clearcutting Report.
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                            12   MTD Order at 17 (identifying the Challenged Statements as “in the Montagnes Blanches Forest in
                            13   Quebec, there are three caribou herds, and in the Caribou Forest in Ontario there is an additional
                            14   herd where habitat disturbance, including some from Resolute’s operations, is jeopardizing their
                            15   survival”; and “Resolute has acquired three harvest blocks through auction sales inside the
                            16   Montagnes Blanches. . . . All three sites have been logged.”). The Court found that Resolute
                            17   adequately pleaded actual malice as to these two statements because both asserted that Resolute was
                            18   operating in the Montagnes Blanches based on boundaries the Lessard Statement had claimed were
                            19   misleading. Id. at 17-19. The Court dismissed with prejudice statements about the Montagnes
                            20   Blanches that were made before the Lessard Statement, such as the Boreal Alarm Report and EFB
                            21   Report. See generally id. The Court also did not identify any other statements from the December
                            22   Letter or Clearcutting Report other than the Challenged Statements that survived dismissal. See id.
                            23           Throughout the parties’ extensive discovery period (over three years), the Court consistently
                            24   rejected Plaintiffs’ attempts to expand the scope of the case, reminding Plaintiffs that the case is
                            25   limited to the Challenged Statements, and cautioning that sanctions might be warranted for future
                            26   such attempts. ECF No. 339 at 1; see also ECF No. 341 at 2; ECF No. 269 at 8.
                            27   G. Discovery Revealed that Resolute Incurred No Damages Specifically from the Challenged
                                    Statements.
                            28

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                             1            Though the focus of Resolute’s lawsuit initially appeared to be claims that the Greenpeace
                             2   Defendants harmed Resolute’s relationship with publishing customers, in fact, neither of the
                             3   Challenged Statements caused any publishing companies to change their purchasing patterns. Ex.
                             4   46 at RFP-0103181-82. Accordingly, in last-minute interrogatory responses and the damages report
                             5   filed by its expert, Resolute has shifted its theory of damages. ECF No. 459-9; Ex. 47, Corrected
                             6   Expert Report of Marti P. Murray (“Murray Report”). Resolute now alleges four categories of
                             7   damages: lost profits, out-of-pocket costs, management diversion damages, and reputational harm.
                             8   See generally Ex. 47. In total, Resolute seeks, at the very least, $53.4 million, along with additional
                             9   damages Ms. Murray says will be quantified at trial. Id. ¶ 53.
                            10            Resolute’s lost profits claims are based entirely on seven pulp customers who changed their
                            11   purchasing patterns with Resolute before the Challenged Statements were published,14 but whom
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                            12   Resolute alleges would have returned but-for the Challenged Statements. Id. ¶¶ 77-112. There is
                            13   no documentary evidence that six of those seven customers even received either of the Challenged
                            14   Statements; and no evidence that any of them changed their purchasing practices as a result.
                            15   Resolute’s claimed out-of-pocket costs relate first to two operating expense categories Resolute used
                            16   to track expenses associated with responding to environmental criticism and funding its litigation
                            17   against Defendants, non-party Greenpeace Canada, and possibly others, called respectively, Project
                            18   GATE and Project RICO. Ex. 47 ¶ 336; Ex. 48, Dep. of Marti Murray (“Murray”) at 247:10-248:4;
                            19   249:14-18; 251:15-252:2; 254:4-255:5. For both categories, Resolute has not provided any
                            20   underlying documents breaking down the expenses it claims amount to $24.6 million. Ex. 48
                            21   (Murray) at 257:8-259:23. The other claimed out-of-pocket costs are approximately $17 million
                            22   related to closing and/or re-opening certain paper machines at Resolute’s mills. Ex. 47 ¶¶ 347-354.
                            23   Resolute also seeks amounts that it will disclose for the first time at trial related to strategic M&A
                            24   transactions it alleges it was not able to complete due to the Challenged Statements and increased
                            25   productions costs related to customers’ demand for FSC-certified products. Id. ¶¶ 376-387. The
                            26

                            27   14
                                   Defendants have filed a motion in limine to preclude Resolute from relying on damages evidence
                            28   based on statements this Court previously either dismissed from the case or ruled were beyond the
                                 scope of discovery—such as statements made prior to December 2016. ECF No. 480.
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                             1   Court has precluded Resolute from relying on the theories related to the paper machines and M&A
                             2   transactions, as a sanction for the company’s failure to timely disclose them. ECF No. 486 at 19.15
                             3   Like the Project GATE and Project RICO costs, the management diversion damages Resolute claims
                             4   also do not distinguish between employee time spent responding to the Challenged Statements from
                             5   time spent responding to any of the other 294 statements the Court has already struck, and rely on
                             6   estimates from Resolute’s employees about how much time they spent. Ex. 48 (Murray) at 217:5-
                             7   219:5; Ex. 47 ¶¶ 364-373.
                             8                                       III.    LEGAL STANDARD
                             9             Summary judgment is proper if the pleadings and discovery show that there is no genuine
                            10   dispute as to any material fact and that the movant is entitled to judgment as a matter of
                            11   law. See Fed. R. Civ. P. 56(a). The moving party bears the initial burden of demonstrating the
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                            12   absence of a genuine issue of material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
                            13   “The moving party, however, has no burden to negate or disprove matters on which the non-moving
                            14   party will have the burden of proof at trial.” Rivera v. Nat'l R.R. Passenger Corp., No. C 99-04003
                            15   SI, 2004 WL 603587, at *3 (N.D. Cal. Mar. 22, 2004). The moving party need only point out to the
                            16   Court that there is an absence of evidence to support the non-moving party’s case. See id. The
                            17   burden then shifts to the non-moving party to “designate ‘specific facts showing that there is a
                            18   genuine issue for trial.’” See Celotex Corp., 477 U.S. at 324.
                            19             To carry this burden, the non-moving party must “do more than simply show that there is
                            20   some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio
                            21   Corp., 475 U.S. 574, 586 (1986). “The mere existence of a scintilla of evidence . . . will be
                            22   insufficient; there must be evidence on which the jury could reasonably find for the [non-moving
                            23   party].” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). Additionally, conclusory,
                            24   speculative testimony in affidavits and moving papers is insufficient to raise genuine issues of fact
                            25   and defeat summary judgment. Thornhill Publ’g Co., Inc. v. Gen. Tel. & Elec. Corp., 594 F.2d 730,
                            26   738 (9th Cir. 1979). The evidence the parties present must be admissible. Fed. R. Civ. P. 56(c)(4).
                            27

                            28   15
                                      Resolute filed objections to this sanctions order, which are currently pending. ECF No. 492.
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                             1                                           IV.     ARGUMENT
                             2          “The elements of a claim for libel and defamation under California law are (1) an intentional
                             3   publication, (2) that is false, (3) defamatory, and (4) unprivileged, and (5) that has a natural tendency
                             4   to injure or that causes special damage.” Open Source Security, Inc. v. Perenes, Case No 17-cv-
                             5   04002-LB, 2017 WL 6539874, at *7 (N.D. Cal. Dec. 21, 2017). Additionally, where the plaintiff is
                             6   a public figure, the plaintiff must establish by clear and convincing evidence that the defendant made
                             7   the allegedly defamatory statements with actual malice—i.e., “with knowledge of their falsity or
                             8   with reckless disregard of their truth or falsity.” Clark v. Hidden Valley Lake Ass’n, No. 16-CV-
                             9   02009-SI, 2017 WL 4922375, at *5 (N.D. Cal. Oct. 31, 2017).
                            10          Here, the Court should grant summary judgment for Defendants because the Challenged
                            11   Statements are: (1) not defamatory; (2) substantially true and/or protected opinion incapable of being
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                            12   proven true or false; (3) not made with actual malice; and (4) Plaintiffs have not suffered any special
                            13   damage as a result of the Statements. Because all of the aforementioned elements are required for
                            14   a finding of defamation, if the plaintiff is unable to establish a material dispute of fact regarding
                            15   even one element, summary judgment is warranted. The Court should similarly grant summary
                            16   judgment on Resolute’s tag-along claim for alleged violation of the California Unfair Competition
                            17   Law (“UCL”), as this claim is predicated upon the same facts as the defamation claim, which fails.
                            18   A. The Challenged Statements Are Not Defamatory.

                            19          Under California law, a statement is defamatory if it “exposes any person to hatred,

                            20   contempt, ridicule, or obloquy, or . . . causes him to be shunned or avoided, or . . . has a tendency to

                            21   injure him in his occupation.” Cal. Civ. Code § 45. Whether or not a challenged statement is fairly

                            22   susceptible of a defamatory meaning is a question of law, see Dodds v. ABC, Inc., 145 F.3d 1053,

                            23   1065 (9th Cir. 1998), and the determination should be made “from the standpoint of the average

                            24   reader, judging the statement not in isolation, but within the context in which it is made.” Norse v.

                            25   Henry Holt & Co., 991 F.2d 563, 567 (9th Cir. 1993); see also Franklin v. Dynamic Details,

                            26   Inc., 116 Cal. App. 4th 375, 389 (2004) (“courts look at the nature and full content of the

                            27   communication and to the knowledge and understanding of the audience to whom the publication

                            28   was directed”); Balzaga v. Fox News Network, LLC, 173 Cal. App. 4th 1325, 1338–39 (2009)

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                             1   (affirming trial court’s granting of defendant’s anti-SLAPP motion, holding no reasonable viewer
                             2   could have understood news program’s caption to have a defamatory meaning, noting the court must
                             3   consider full context of the broadcast—or if the alleged statement is contained in a headline, “the
                             4   headline must be read in conjunction with the entire article”).
                             5          “Where the words or other matters that are the subject of a defamation action are of
                             6   ambiguous meaning, or are innocent on their face and defamatory only in the light of extrinsic
                             7   circumstances, the plaintiff must plead and prove that as used, the words had a particular meaning,
                             8   or ‘innuendo,’ that makes them defamatory.” Woods v. Prot. One Alarm Monitoring, Inc., 628 F.
                             9   Supp. 2d 1173, 1187 (E.D. Cal. 2007) (citing Smith v. Maldonado, 72 Cal. App. 4th 637, 645-46
                            10   (1999)). “This includes the requirement that in an instance of ambiguous language, i.e., where the
                            11   language is susceptible of either a defamatory or innocent interpretation, the plaintiff must also
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                            12   allege the extrinsic circumstances which show that the third person reasonably understood it in its
                            13   derogatory sense (the ‘inducement’).” Id.
                            14          Here, the Challenged Statements are incapable of defamatory meaning because they in no
                            15   way imply that Resolute was operating illegally or in an area that was off-limits to logging. To the
                            16   contrary, the Clearcutting Report made clear that Resolute lawfully acquired the rights to source
                            17   wood from the Montagnes Blanches through a government-run auction process. Specifically, the
                            18   relevant paragraph of the Clearcutting Report begins by stating that, in Northern Québec, “Resolute
                            19   logs in and sources from a large geographic area managed directly by the Québec provincial
                            20   government.” Ex. 44 at 28 (emphasis added). It then states that through the auction system,
                            21   Resolute “acquired three harvest blocks . . . inside the Montagnes Blanches, an area of forest with
                            22   high conservation values that local organizations have for years sought to protect.” Id. (emphasis
                            23   added). Nowhere does the Report state that this area is already protected. Additionally, that
                            24   sentence footnotes to auction data directly from the Government of Québec, Le Bureau de mise en
                            25   marché des bois (“The Timber Marketing Bureau”)—making even clearer that this auction system
                            26   is managed by the Québec government. See id. at n.131. Further, the Clearcutting Report includes
                            27   a map directly above this paragraph, showing exactly where these three harvest blocks are located.
                            28   See id. at 28. This map uses the same boundaries that Greenpeace Canada had been campaigning
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                             1   on for years, and published in the Boreal Alarm Report and EFB Report—both of which made clear
                             2   that this was an area that was largely available to logging, but that Greenpeace Canada thought
                             3   should be protected because of its high ecological value. Compare Ex. 44 at 28, with Ex. 8 at 11-13
                             4   & Ex. 19 at 3-4. Mr. Forcier agreed that the EFB Report was not accusing Resolute of logging in
                             5   the 2008 proposed Montagnes Blanches Biodiversity Reserve—which was off-limits to logging.
                             6   Ex. 2 (Forcier) at 199:4-201:9.
                             7          Likewise, the December Letter in no way accuses Resolute of illegal logging.               The
                             8   Challenged Statement in the December Letter simply states that “in the Montagnes Blanches Forest
                             9   in Quebec, there are three caribou herds . . . where habitat disturbance, including some from
                            10   Resolute’s operations, is jeopardizing their survival.” Ex. 43 at GPDEFS00029548. Nowhere does
                            11   the December Letter state or imply that the Montagnes Blanches Forest is off-limits to logging, or
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                            12   that anything about Resolute’s conduct was illegal. Additionally, the December Letter includes a
                            13   footnote to the EFB Report, which as noted supra, includes a map identifying the area being
                            14   discussed—and which Mr. Forcier testified was “clear” that it was not accusing Resolute of logging
                            15   in a protected caribou reserve. See Ex. 2 (Forcier) at 199:4-201:9.
                            16          Even Resolute employees agreed that the Greenpeace Defendants did not say “Resolute was
                            17   harvesting illegally . . . .” Ex. 49, Dep. of Carolyn Pinto (“Pinto”) at 116:22-117:3; see also id. at
                            18   119:4-11 (“I don’t believe they accused Resolute of doing something illegal, to my recollection”).
                            19   And there is no documentary evidence that publishing companies or any other Resolute customers
                            20   thought either of the Challenged Statements accused Resolute of illegal logging. Resolute did not
                            21   get any email inquiries from customers confused about whether they were engaging in illegal
                            22   operations. During their depositions, none of the corporate representatives of the publishing
                            23   companies testified that they interpreted the Challenged Statements to accuse Resolute of illegal
                            24   logging in the Montagnes Blanches caribou preserve or above the northern limit. Indeed, even if
                            25   Resolute customers misunderstood the area that the Greenpeace Defendants were discussing in the
                            26   Challenged Statements to refer to the area identified in the Lessard Statement (there is no evidence
                            27   that any such misunderstanding occurred), there would still be no defamatory meaning. As Mr.
                            28   Forcier testified, the Lessard Statement, for the first time, publicly defined the “Montagnes
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                             1   Blanches” sector as co-extensive with the “Massif de Manouanis;” and part of the Massif de
                             2   Manouanis is below the northern limit and available for logging operations. Ex. 2 (Forcier) at 286:5-
                             3   287:6; see also Ex. 45 (Bedard) at 150:8-14. Accordingly, even under the Ministry’s definition as
                             4   of May 2016, stating that a company was logging in the “Montagnes Blanches” did not accuse them
                             5   of illegal logging. This is significant because, to be actionable, an allegedly defamatory statement
                             6   “must be ‘material,’ meaning, it ‘would have a different effect on the mind of the reader from that
                             7   which the pleaded truth would have produced.’” Planet Aid, Inc. v. Ctr. for Investigative Reporting,
                             8   No. 17-CV-03695-MMC, 2021 WL 1110252, at *15 (N.D. Cal. Mar. 23, 2021), aff’d sub
                             9   nom. Planet Aid, Inc. v. Reveal, 44 F.4th 918 (9th Cir. 2022).
                            10            Likewise, there is certainly no evidence that any Resolute customers or other members of
                            11   the public misunderstood the Challenged Statements to be referring to logging around the peaks of
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                            12   the Montagnes Blanches mountains, as Resolute now appears to claim.16 Such an interpretation
                            13   would make no sense, as neither the Lessard Statement nor environmental groups ever defined the
                            14   Montagnes Blanches forest or sector as limited to only the peaks themselves.17 Ex. 1 at 5. The only
                            15   entity that appears to refer to just the five peaks when referring to the Montagnes Blanches is
                            16   Resolute.18 Further, the Challenged Statements either use the phrase “Montagnes Blanches Forest”
                            17   or state “Montagnes Blanches, an area of forest . . . ,” making clear they are not discussing the peaks
                            18   alone. And because logging was not permitted at the top of these mountain peaks, the Québec
                            19   government would not have auctioned off harvest blocks there—as discussed in the Clearcutting
                            20   Report—making it impossible for a reasonable reader to make such a misinterpretation.
                            21   Accordingly, because, as established supra, the term “Montagnes Blanches” is capable of multiple
                            22
                                 16
                                    At deposition, Resolute’s witnesses provided various, inconsistent answers as to precisely how
                            23   they believed customers or the public interpreted the term “Montagnes Blanches;” most indicated
                            24   that they believed customers did not know what the Montagnes Blanches were until they asked
                                 Resolute. Ex. 13 (Dumoulin) at 166:15-25; 219:6-220:10; Ex. 50, Apr. 28, 2022 Dep. of Richard
                            25   Garneau (“Garneau”) at 97:25-98:23; Ex. 51, Dep. of Charles Del Vecchio at 151:5-152:2.
                                 17
                                    The Resolute customers who received the earlier Greenpeace Canada reports (Boreal Refuge,
                            26   Boreal Alarm, and EFB Report) would already have been familiar with the boundaries and
                                 underlying criteria that Greenpeace Canada used to define the Montagnes Blanches.
                            27   18
                                    Indeed, Resolute invented the terms “real” and “actual” Montagnes Blanches specifically as
                            28   counterpoint to Greenpeace Canada’s mapping of the MBEF. Ex. 52, Jan. 21, 2022 Dep. of Marc
                                 Bedard (“Bedard 30(b)(6)”) at 54:10-21; 60:3-15.
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                             1   meanings, and no statements by Defendants implied any illegal conduct by Resolute, Plaintiffs’
                             2   claim cannot survive because they have not and cannot “allege the extrinsic circumstances which
                             3   show [a] third person reasonably understood [the statement] . . . in its derogatory
                             4   sense . . . .” Smith, 72 Cal. App. 4th at 645-46.
                             5          Because the Challenged Statements did not state or imply that Resolute was engaging in
                             6   illegal logging, there is no basis for finding these statements defamatory. Simply stating that a
                             7   company is logging in an area where they are allowed to log—but where environmentalists would
                             8   prefer they do not log because of the conservation value of the land—is not defamatory. Indeed,
                             9   courts have rejected defamation claims based on statements associating plaintiffs with activities
                            10   that—while legal—may be considered objectionable by some. See Golden N. Airways v. Tanana
                            11   Publ’g Co., 218 F.2d 612, 623-25 (9th Cir. 1954) (article stating company was “unable to comply
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                            12   with the requirements of financial responsibility, preventive maintenance . . . and the innumerable
                            13   requirements necessary to operate safely, efficiently and economically” was not defamatory as it
                            14   “charges nothing illegal, nothing fraudulent,” noting: “It is an established principle in the law of
                            15   libel that it is never libelous to accuse one of doing a legal act although strong epithets are used in
                            16   describing the act”); see also Beilenson v. Superior Ct., 44 Cal. App. 4th 944, 951-52 (1996)
                            17   (holding campaign mailer accusing a political candidate of maintaining a private law practice while
                            18   employed by the state not defamatory as there “was nothing illegal” about doing so—the mailer
                            19   simply implied that a state official’s time “ought to be devoted to his public post”—and to “charge
                            20   a breach of ethics is not to charge a breach of the law”).
                            21          As this Court has previously found, where, as here, Defendants’ statements “rely on
                            22   scientific research or fact,” the “academy, and not the courthouse, is the appropriate place to resolve
                            23   scientific disagreements of this kind.” ECF No. 173 at 17-18. As Defendants’ environmental
                            24   advocacy criticizing Resolute’s forestry practices lies within the core of First Amendment
                            25   protection, and in light of Resolute’s extensive, continuing efforts to respond to Defendants’ speech
                            26   in the market, the Court should reject Resolute’s defamation claims here and honor the principle
                            27   espoused by Justice Brandeis that “the remedy to be applied is more speech, not enforced silence.”
                            28   Whitney v. California, 274 U.S. 357, 377 (1927) (Brandeis, J., concurring), overruled on other
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                             1   grounds by Brandenburg v. Ohio, 395 U.S. 444 (1969).
                             2   B. The Challenged Statements Are Substantially True and/or Protected Opinion.

                             3           “In all cases of alleged defamation, whether libel or slander, the truth of the offensive

                             4   statements or communication is a complete defense against civil liability, regardless of bad faith or

                             5   malicious purpose.” Ringler Assocs., Inc. v. Maryland Cas. Co., 80 Cal. App. 4th 1165, 1180-81

                             6   (2000). “It is sufficient if the substance of the charge is proven true, irrespective of slight inaccuracy

                             7   in the details, ‘so long as the imputation is substantially true so as to justify the ‘gist or sting’ of the

                             8   remark.’” Id. A defamation claim “cannot survive defendant’s summary judgment motion . . .

                             9   [where] the statements were substantially true, and plaintiff does not present any evidence that raises

                            10   a genuine issue of fact as to their truthfulness.” Edward/Ellis v. New United Motors Mfg., Inc., No.

                            11   C 07-05452 WHA, 2008 WL 5384323, at *5 (N.D. Cal. Dec. 22, 2008).
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                            12           Additionally, it “is an essential element of defamation that the publication be of a false

                            13   statement of fact rather than opinion.” Brown v. Wireless Networks, Inc., No. C 07-4301 EDL, 2008

                            14   WL 4937827, at *1 (N.D. Cal. Nov. 17, 2008); see also Open Source Security, Inc., 2017 WL

                            15   6539874 at *8 (“California defamation law requires that the offending statement ‘expressly or

                            16   impliedly assert a fact that is susceptible to being proved false,’ and must be able reasonably to be

                            17   ‘interpreted as stating actual facts.’”). Ultimately, unless “a reasonable factfinder could conclude

                            18   that the contested statement implies an assertion of objective fact, . . . the claim is foreclosed by the

                            19   First Amendment.” Gardner v. Martino, 563 F.3d 981, 987 (9th Cir. 2009).

                            20           Courts have found that where a term is capable of multiple meanings, it is a matter of

                            21   opinion, incapable of being proven true or false. For example, in Skidmore v. Gilbert, No. 20-CV-

                            22   06415-BLF, 2022 WL 464177, at *9 (N.D. Cal. Feb. 15, 2022), the Court found that the defendants’

                            23   “use of the terms ‘racist,’ ‘xenophobic,’ ‘hateful,’ and the like would be protected opinions[, as they]

                            24   . . . are not capable of ‘precise meaning’ and are ‘susceptible to varying viewpoints and

                            25   interpretations.’” Even words that are “exceptionally negative, insulting, and highly charged . . .

                            26   [are] not actionable under defamation-type claims . . . [if] it is ‘a word that lacks precise meaning’

                            27   and ‘can imply many different kinds of fact.’” Id.; see also Rosen v. Am. Israel Pub. Affs. Comm.,

                            28   Inc., 41 A.3d 1250, 1256-58 (D.C. 2012) (holding a statement that the plaintiff’s conduct “did not

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                             1   comport with the standards that [defendant] expects of its employees” was not provably false
                             2   because “standards” is “a general term capable of multiple meanings” and “communicates no
                             3   specific message about a discernible fact to an uniformed hearer”); Experian Info. Sols., Inc. v.
                             4   Carfax, Inc., No. 11 CV 08927, 2012 WL 2597915, at *5 (N.D. Ill. July 5, 2012) (dismissing
                             5   statements as opinion where they were “neither precise nor verifiable, and . . . [were] capable of
                             6   having multiple meanings . . . because the precise meaning of such general terms . . . could easily
                             7   differ from one person to another”).
                             8          1.      The Term “Montagnes Blanches” Constitutes Protected Opinion.

                             9          Here, it is clear the term “Montagnes Blanches” has had numerous meanings throughout the

                            10   past few decades in Québec. Since 2006, Aux Arbres Citoyens, CPAWS Québec, Greenpeace

                            11   Canada, and other Canadian ENGOs or collectives have used the Montagnes Blanches name to
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                            12   describe a region of high conservation value that environmentalists believed should be protected

                            13   from logging. The Québec Forest Ministry has used the Montagnes Blanches term over the past 15

                            14   years to refer to at least three different geographic entities: a proposed biodiversity caribou reserve

                            15   in 2008, a vast land sector in April 2016, and a somewhat smaller land sector in May 2016 (part of

                            16   which was and still is available for commercial logging). Even Resolute’s CEO himself has used

                            17   the Montagnes Blanches name inconsistently over time to refer to different areas. Compare Ex. 2

                            18   (Forcier) at 142:19-144:24 (“[W]hen the Government of Quebec talks about the White Mountains

                            19   and when Mr. Richard Garneau talks about the White Mountains they’re not referring to the same

                            20   thing . . . . Mr. Garneau is referring to the whole north of the Saguenay-Lac-St-Jean region”), with

                            21   Ex. 50 (Garneau) at 30:18-20 (testifying that Resolute now considers the definition of the Montagnes

                            22   Blanches to be “the five peaks that are all located above the northern limit”).

                            23          The evidence adduced here does not support a conclusion that the definition of the

                            24   Montagnes Blanches in the Lessard Statement is the only accurate definition of the term—especially

                            25   considering that neither Resolute nor Canadian ENGOs use the Lessard Statement’s definition. See

                            26   Exs. 38 & 39 (CPAWS Québec’s webpage and map of Montagnes Blanches sector, neither of which

                            27   use or mention the Lessard Statement’s borders). This is particularly true because discovery has

                            28   made clear the Lessard Statement was a politically-motivated response to the EFB Report

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                             1   undertaken at the direction and under the influence of Resolute; and it defined the Montagnes
                             2   Blanches as an area the Ministry had never before referred to and which was inconsistent with the
                             3   Ministry’s use of the Montagnes Blanches name from only a month prior. See Exs. 21 & 22; Ex.
                             4   23 at RFP-0037903; Ex. 27 at RFP-0038642; Ex. 2 (Forcier) at 286:5-16; 224:19-225:22.
                             5            Accordingly, because the term “Montagnes Blanches” is capable of multiple meanings and
                             6   “susceptible to varying viewpoints and interpretations,” one cannot prove true or false whether an
                             7   entity was logging there—rendering such a statement protected opinion.19 Skidmore, 2022 WL
                             8   464177, at *9. This is especially true where, as here, the Greenpeace Defendants disclosed the basis
                             9   for their opinion—or in this case, for their interpretation of the Montagnes Blanches boundaries—
                            10   for example, in the Clearcutting Report, defining the Montagnes Blanches as “an area of forest with
                            11   high conservation values that local organizations have for years sought to protect” and including a
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                            12   map of the area. Ex. 44 at 28; see also Ex. 43 at 3 (including at footnote 11, a link to the EFB
                            13   Report, whose title refers to the Montagnes Blanches, and which included a map and detailed
                            14   description of the area); Wynn v. Chanos, 75 F. Supp. 3d 1228, 1233-34 (N.D. Cal. 2014)
                            15   (“[O]pinions that are based on expressly stated or disclosed facts are actionable ‘only if the stated
                            16   facts are themselves false and demeaning’ . . . because ‘[w]hen the facts . . . are disclosed, readers
                            17   will understand they are getting the author’s interpretation of the facts presented . . . .’”); Koch v.
                            18   Goldway, 817 F.2d 507, 509 (9th Cir. 1987) (“Context can be determinative that a statement
                            19   is opinion and not fact, for the context of a statement may control whether words were understood
                            20   in a defamatory sense.”).
                            21            The Court’s MTD Order indicates that the only allegedly defamatory assertion at issue from
                            22   the Challenged Statements is that Resolute was operating in the Montagnes Blanches. MTD Order
                            23   at 17-19. Accordingly, the Court should end its analysis here, upon determining that this assertion
                            24   is incapable of defamatory meaning and constitutes protected opinion. However, in an abundance
                            25

                            26   19
                                    Courts have also refused to find defamation liability based on the popular use of a term even if
                                 “the popular sense of a term may not be technically accurate,” although here, there is no singular
                            27
                                 accurate sense of the term. Ingersoll v. Tuesley, No. 276828, 2008 WL 4228353, at *5 (Mich. Ct.
                            28   App. Sept. 16, 2008); see also Ex. 2 (Forcier) at 91:2-7 (the “official name Montagnes-Blanches or
                                 White Mountains doesn’t seem to be official, it’s more popular, more common”).
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                             1   of caution, the Greenpeace Defendants also include an explanation of why the other words in the
                             2   Challenged Statements are also true:
                             3          2.      The Challenged Statement from the Clearcutting Report Is True.

                             4          The Challenged Statement from the Clearcutting Report states that: “Resolute has acquired

                             5   three harvest blocks through auction sales inside the Montagnes Blanches. . . . All three sites have

                             6   been logged.” MTD Order at 17. After addressing the use of the “Montagnes Blanches” term supra,

                             7   the only remaining assertions are that: (1) Resolute acquired these three harvest blocks through

                             8   auction sales; and (2) all three of these sites were logged. Both are indisputably true.

                             9          In the Clearcutting Report, the Greenpeace Defendants cited auction data from the Québec

                            10   Timber Marketing Bureau proving Resolute had acquired these three harvest blocks: Devau,

                            11   Tremblay, and Bonnard—and stating the dates of acquisition for each. See Ex. 44 at 28 nn.131,
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                            12   134-136. And they included satellite images of the three blocks from 2013-2016 (and Tremblay in

                            13   2017) in the Report, showing they had been logged since 2013. See id. at 27. During their

                            14   depositions, Resolute employees did not dispute that Resolute had acquired or logged these three

                            15   harvest blocks. See Ex. 49 (Pinto) 122:16-123:3 (noting, “I don’t have reason to doubt [the] claim”

                            16   that Resolute had logged these three sites). Resolute employees also admitted that Resolute was not

                            17   only logging in the area identified as the Montagnes Blanches in the Clearcutting Report, it was

                            18   responsible for the majority of logging there. See Ex. 45 (Bedard) at 209:10-210:5 (agreeing that

                            19   “between year 2008 and 2015,” Resolute was “responsible for 64 percent of harvest in that area”);

                            20   see also id. at 148:22-25 (“[W]e were logging in what Greenpeace called the . . . Montagnes

                            21   Blanches . . . . We knew that”); Ex. 13 (Dumoulin) at 259:20-260:8 (admitting, “where Greenpeace

                            22   was talking about whether there were harvest blocks acquired through auction sales inside the

                            23   Montagnes Blanches, . . . it referenced directly the map it . . . was discussing” and the blocks

                            24   “seemed to have been located within the delineation that Greenpeace was using”).

                            25          Accordingly, this statement is not actionable because it is entirely true.
                                        3.      The Challenged Statement from the December Letter Is True.
                            26
                                        The Challenged Statement from the December Letter states that “in the Montagnes Blanches
                            27

                            28

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                             1   Forest in Quebec, there are three caribou herds, and in the Caribou Forest in Ontario20 there is an
                             2   additional herd where habitat disturbance, including some from Resolute’s operations, is
                             3   jeopardizing their survival.” MTD Order at 17. After addressing the use of the “Montagnes
                             4   Blanches” term, the only remaining assertions include: (1) there are three caribou herds in this area;
                             5   (2) these three herds were experiencing habitat disturbance that was jeopardizing their survival; and
                             6   (3) Resolute’s operations caused some of that habitat disturbance. All three of these assertions are
                             7   true; and this Statement is also non-actionable because the term “jeopardizing their survival” is
                             8   protected opinion incapable of being proven true or false.
                             9             First, Resolute employees did not dispute there were at least three caribou herds in the
                            10   Montagnes Blanches, as that term was used by the Greenpeace Defendants. See Ex. 13 (Dumoulin)
                            11   at 262:21-263:12 (testifying he believed there were four herds in this area). The Greenpeace
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                            12   Defendants also cited a federal caribou report from the Canadian government, which included maps
                            13   and data on where certain herds were located, see Ex. 53 (“2012 Environment Canada Report”), as
                            14   well as a 2012 report by caribou scientist Tyler Rudolph for the Québec Ministry of Natural
                            15   Resources and Wildlife (Ex. 54, “Rudolph Report”), which included such maps and data for other
                            16   herds. Based on these two publications, the Greenpeace Defendants were able to determine that the
                            17   Montagnes Blanches overlapped with the following four caribou herds: the Pipmuacan, Manouane,
                            18   Temiscamie, and Manicouagan. See Ex. 19 at 6 & n.28.
                            19             Second, it is true that three of these four herds were experiencing habitat disturbance that
                            20   was jeopardizing their survival. The 2012 Environment Canada Report states that the minimum
                            21   percentage of undisturbed habitat for a caribou herd to have a “measurable probability (60%) . . . to
                            22   be self-sustaining” is 65% of the area. Ex. 53 at vii. In other words, if a caribou herd is encountering
                            23   habitat disturbance greater than 35%, it is more likely than not that it cannot sustain itself, and thus
                            24   ultimately will not survive. See id. at 23. The Report notes that even at 65% of undisturbed habitat,
                            25   “there remains a significant risk (40%) that local [caribou] populations will not be self-sustaining.”
                            26   Id. at vii (emphasis added). The Report then identifies the percentage of undisturbed habitat for the
                            27   herds it was assessing—finding that: (1) the Pipmuacan herd had 59% disturbed habitat; and (2) the
                            28   20
                                      As this case does not concern the Caribou Forest in Ontario, Defendants do not address that clause.
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                             1   Manouane herd had 39% disturbed habitat. Id. at 69. The Rudolph Report, which analyzed the
                             2   Temiscamie herd among others, found that the Temiscamie herd had 46% disturbed habitat. Ex. 54
                             3   at 39; Ex. 19 at 6. Accordingly, by the time the December Letter was published, all three herds were
                             4   already encountering levels of habitat disturbance beyond 35%—i.e., too great to allow them even
                             5   a measurable probability of sustaining themselves.
                             6            The Court should also find this statement non-actionable because the word “jeopardize” is
                             7   inherently subjective, and thus a matter of protected opinion. See Toledo Heart Surgeons, Inc. v.
                             8   Toledo Hosp., 154 Ohio App. 3d 694, 702 (2003) (stating the defendant-hospital “jeopardized its
                             9   non-profit status” constituted non-actionable opinion); see also Clary v. Total Facility Sols., Inc.,
                            10   Civ. No. 20-768 JAP/LF, 2021 WL 1754196, at *10 (D.N.M. May 4, 2021) (stating “Plaintiff was
                            11   creating a hostile and threatening environment” was “pure opinion ”). Resolute’s own caribou
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                            12   expert conceded that “jeopardized” is not a scientific term, and “[p]eople could interpret it however
                            13   they want.” Ex. 56, Dep. of Peter Reich (“Reich”) at 168:7-18. Relatedly, this Court previously
                            14   dismissed as non-actionable opinion statements that Resolute “destroyed” the forest—concluding
                            15   this word constituted “opinion describing a loss of forest trees, which did occur.” MTD Order at
                            16   20. Because the Greenpeace Defendants disclosed the true facts upon which they based their
                            17   statement that the caribou’s survival was jeopardized (namely, the 2012 Environment Canada
                            18   Report and Rudolph Report), this statement is also non-actionable opinion.
                            19            Third, it is true that Resolute caused some of the habitat disturbance these three caribou herds
                            20   were facing.21 Mr. Dumoulin confirmed as much, admitting that “some of the habitat disturbance
                            21   [mentioned in the December Letter wa]s from Resolute’s operations,” and stating, “it is true that
                            22   some of the . . . harvesting has been done by Resolute . . . .” Ex. 13 (Dumoulin) at 264:3-6.
                            23   Mr. Dumoulin also conceded the three harvest blocks that Resolute acquired within the Montagnes
                            24   Blanches area identified in the Clearcutting Report (Devau, Tremblay, and Bonnard) were “in
                            25   caribou habitat.” Id. at 257:21-258:2. Even if Mr. Dumoulin had not admitted that at least some of
                            26   the caribou habitat disturbance in the Montagnes Blanches was caused by Resolute (he did), one can
                            27
                                 21
                            28     It bears noting that the Challenged Statement does not claim that all or even most of the caribou
                                 habitat disturbance was caused by Resolute, only some.
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                             1   draw this same conclusion because: (1) Resolute does not contest harvesting in this area; and
                             2   (2) scientific consensus agrees that forest harvesting negatively impacts woodland caribou.
                             3            In his expert report, Daniel Kneeshaw, a biology professor at Université du Québec à
                             4   Montréal who specializes in forest conservation, noted that, there “is no debate in government
                             5   documents about the negative impact of forest harvesting on woodland caribou populations;”
                             6   indeed, the Québec Forest Ministry has acknowledged that “forest harvesting is the primary factor
                             7   listed as being of high risk” to caribou. Ex. 55 at 3-4. Accordingly, because Resolute admits
                             8   harvesting in the area identified as the Montagnes Blanches in the Challenged Statements and
                             9   harvesting undoubtedly harms caribou populations by disturbing their habitat, it is entirely (or at the
                            10   very least, substantially) true that Resolute has caused some of the habitat disturbance experienced
                            11   by caribou in the Montagnes Blanches.22
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                            12            Because the Challenged Statements are all either entirely or, at least, substantially true and/or
                            13   constitute statements of protected opinion, the Court should dismiss them as non-actionable.
                            14   C. Defendants Did Not Act with Actual Malice in Making the Challenged Statements.

                            15            As this Court has previously found, Resolute is a limited public figure, and thus must

                            16   establish that the Greenpeace Defendants acted with actual malice in making the Challenged

                            17   Statements. See MTD Order at 11. Actual malice requires that the defendant acted either “with

                            18   knowledge that the statement was false or with reckless disregard as to whether or not it was true.”

                            19   Harte-Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 667 (1989). “Reckless disregard” is

                            20   generally defined as requiring that the defendant “made the false publication with a ‘high degree of

                            21

                            22   22
                                    Dr. Kneeshaw also rebuts Resolute’s expert witness Peter Reich, who argued Resolute’s operations
                                 did not have a meaningful percentage impact on the caribou herds in Québec, but misleadingly limited
                            23   his analysis to only the disturbance incurred during 2015-2018. Ex. 55 at 7-9. Dr. Kneeshaw explains
                            24   that such a limited view fails to appreciate the impact of disturbance over time—for example, forests
                                 take about 40 years to grow back after being harvested; thus, the impact of a tree cut in 2015 (and the
                            25   resulting destruction of caribou food and shelter) will last much longer than Dr. Reich acknowledges.
                                 See id. Dr. Reich also admitted during his deposition that the chart he included in his expert report
                            26   allegedly calculating Resolute’s percentage impact on caribou habitat was simply provided to him by
                                 Resolute; he just “assum[ed] it’s accurate.” Ex. 56 (Reich) at 250:3-21. And if this chart refers only to
                            27
                                 Resolute’s “cut-block size,” it does not adequately measure Resolute’s effects on caribou habitat, as
                            28   road networks and “forests left between harvest blocks” (which are suboptimal habitat) must also be
                                 considered, as they greatly impact caribou. Ex. 55 at 9.
                                                                                    31
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                             1   awareness of . . . probable falsity,’ . . . or . . . ‘entertained serious doubts as to the truth of the
                             2   publication.’” Id.; see also St. Amant v. Thompson, 390 U.S. 727, 731 (1968) (noting this standard
                             3   is “not measured by whether a reasonably prudent man would have published, or would have
                             4   investigated before publishing,” it requires sufficient evidence of actual serious doubts); United
                             5   States v. Alvarez, 567 U.S. 709, 719 (2012) (“[F]alsity alone may not suffice to bring the speech
                             6   outside the First Amendment. The statement must be a knowing or reckless falsehood.”).
                             7          Whether “the evidence in the record in a defamation case is sufficient to support a finding
                             8   of actual malice is a question of law,” Wynn, 75 F. Supp. 3d at 1234; and to survive summary
                             9   judgment, a plaintiff must put forth “clear and convincing evidence” of actual malice, Reveal, 44
                            10   F.4th at 928. Given the actual malice standard arises from a defendant’s First Amendment right to
                            11   free speech, “[s]ummary judgment is an integral part of the constitutional protection afforded
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                            12   defendants in [defamation] actions such as this.” Cerrito, 302 F. Supp. at 1075–76. Indeed, absent
                            13   “an affirmative showing of facts from which defendant’s probable knowledge of falsity may be
                            14   constitutionally sustained . . . ; the mere hope of questioning the credibility of the defendant’s
                            15   witnesses is not sufficient to resist summary judgment.” Id. Thus, where a plaintiff cannot meet
                            16   “the heavy burden of proving actual malice,” “the First Amendment makes it incumbent upon the
                            17   Court to grant defendant’s motion for summary judgment.” Id. This is critical in a case like this,
                            18   which the Court has already concluded arose from Defendants’ exercise of their free speech on “the
                            19   important public matter of environmental sustainability.” MTD Order at 31. Even assuming the
                            20   Court does not dismiss Resolute’s claims because the Challenged Statements are true or non-
                            21   defamatory, Resolute cannot meet its heavy burden of showing actual malice for two main reasons:
                            22          1.      There Can Be No Actual Malice for a Statement of Opinion.

                            23          A predicate to finding actual malice is that a false statement of fact, as opposed to opinion,

                            24   was made. See Leidholdt v. L.F.P. Inc., 860 F.2d 890, 893 (9th Cir. 1988) (holding that “[o]nly if

                            25   the article is not an expression of opinion must we decide whether any of the allegedly false

                            26   statements are . . . actionable,” including whether they “were made with ‘actual malice’”). The

                            27   Supreme Court has held that in situations where the allegedly defamatory statement is “one of a

                            28   number of possible rational interpretations” of an ambiguous situation, such interpretation is “not

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                             1   enough to create a jury issue of malice . . . .” Time, Inc. v. Pape, 401 U.S. 279, 290 (1971); see also
                             2   Planet Aid, Inc., 2021 WL 1110252, at *18 (holding defendants’ reliance on certain key
                             3   documents—which plaintiffs alleged demonstrated knowledge of falsity—could not support actual
                             4   malice where the documents were “complex and often ambiguous” and “defendants’ interpretation
                             5   thereof was ‘one of a number of possible rational interpretations’”). Thus, where a statement is
                             6   open to multiple interpretations, a defendant cannot be liable if she believed her interpretation to be
                             7   true. See CACI Premier Tech., Inc. v. Rhodes, 536 F.3d 280, 296 (4th Cir. 2008) (no actual malice
                             8   where defendant adopted one of at least two “rational interpretations” of underlying facts).
                             9          Here, to find actual malice, there must be clear and convincing evidence that the Greenpeace
                            10   Defendants knew that their interpretation of the Montagnes Blanches was false (or thought it highly
                            11   likely that it was false). This is impossible because, for the reasons stated supra in section B(1),
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                            12   there is no single true definition of the term “Montagnes Blanches”—rather, the term has had
                            13   numerous meanings throughout the past few decades, as used by various environmental groups,
                            14   forest industry, and by the Québec Forest Ministry. Even Resolute has used different definitions of
                            15   the term over the years; and its CEO admitted the company does not use the same definition as the
                            16   Lessard Statement. Accordingly, because the Greenpeace Defendants’ use of the Montagnes
                            17   Blanches term in the Challenged Statements would thus be “one of a number of possible rational
                            18   interpretations” of the term, there can be no actual malice. Pape, 401 U.S. at 290.
                            19          2.      There Is No Evidence, Let Alone “Clear and Convincing Evidence,” that the
                                                Greenpeace Defendants Knew Their Use of the Montagnes Blanches Term Was
                            20                  False or Acted with Reckless Disregard to Its Truth.
                            21          Even assuming the Challenged Statements contain any false statements of fact (they do not),

                            22   there still can be no liability because there is no evidence that the Greenpeace Defendants knew the

                            23   statements were false or acted with reckless disregard as to their truth. To the contrary, discovery

                            24   indisputably established the Greenpeace Defendants: (1) believed their map of the Montagnes

                            25   Blanches was an accurate and scientifically credible depiction of an area of high ecological value in

                            26   need of government protection from logging; and (2) did not believe the Lessard Statement rendered

                            27   their map inaccurate or misleading, as Minister Lessard was talking about entirely different issues,

                            28   comparing apples to oranges, and was also politically biased in favor of Resolute.

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                             1           First, Greenpeace Canada’s initial reports on the Montagnes Blanches Endangered Forest
                             2   make clear the area was originally mapped in 2010 with the assistance of GFWC (mapping experts
                             3   who specialize in assessing priority areas for conservation, see Ex. 4 (Boudreault) at 108:3-109:6),
                             4   based on the levels of twelve ecological values, and was later refined in 2012 to incorporate further
                             5   data on ecological significance and threats from encroaching development. See Ex. 5 at 29; see also
                             6   Ex. 8 at 11; Ex. 19 at 5 n.i. The Greenpeace Defendants testified that—while they were not
                             7   personally involved in the underlying mapping work—they believed that Greenpeace Canada and
                             8   GFWC’s mapping was scientific and credible in defining an area of high conservation value in need
                             9   of protection from logging. See Ex. 11 (Moas) at 66:17-67:10; 74:14-75:4 (noting “there were 12
                            10   different conservation values that were looked at . . . and . . . partnering with global forest watch, . .
                            11   . an external mapping agency, were able to map these conservation values throughout Canada,” and
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                            12   further stating that for “each one of the 12 conservation values, there’s an entire body of scientific
                            13   literature”); Ex. 7 (Skar) at 235:7-11 (“I had confidence in the values . . . that were being captured
                            14   in . . . the [Montagnes Blanches] mapping . . . the intact forest landscapes, the caribou habitat, things
                            15   that went into the proposal”); Ex. 37 (Marahrens) 79:8-80:10 (noting that the Montagnes Blanches
                            16   area identified in the Greenpeace Canada reports were based on “science . . . [including] the high
                            17   conservation value concept . . . laid out in the first report”).
                            18           Second, the Greenpeace Defendants did not believe the Lessard Statement rendered their
                            19   Montagnes Blanches map inaccurate or misleading. They testified the Lessard Statement was
                            20   comparing “apples to oranges,” in comparing their map—which Greenpeace Canada clearly defined
                            21   as an area of high-conservation value worthy of protection, and which they had been campaigning
                            22   on for at least six years—against a never-before-seen government map that was not even discussing
                            23   the same topic as Greenpeace Canada’s map, i.e., the need for additional protection. Ex. 7 (Skar) at
                            24   215:8-219:7 (noting the Lessard Statement “was talking past the issues that . . . we were trying to
                            25   address,” and “seemed to be talking about something else, like mentioning areas that were not
                            26   allocated for logging”); Ex. 11 (Moas) at 121:9-122:19, 261:3-6 (“We believed strongly at the time
                            27   that we did not mislead readers and that [Minister Lessard] did not understand our map or what we
                            28   were doing with it . . . . [T]he high conservation values that were mapped and that originated the
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                             1   Montagnes Blanches boundaries in the first place still stood”); Ex. 10 (Daggett) at 204:5-23 (noting
                             2   the Lessard Statement’s criticisms were unwarranted especially considering it “announce[d] a map
                             3   that wasn’t previously public and happened after the [EFB] report itself”). The Greenpeace
                             4   Defendants also did not find the Lessard Statement to be unbiased or entirely credible, as it was not
                             5   unusual for provincial governments like the Québec Ministry to make statements in support of the
                             6   forestry industry—at the expense of environmental protection—because such governments often
                             7   share interests with the industry. Ex. 7 (Skar) at 223:11-15; Ex. 41 (Brindis) at 238:1-13; Ex. 11
                             8   (Moas) at 123:19-25 (noting Minister Lessard had “a vested interest in the forestry industry, . . .
                             9   [and his statement] was basically the equivalent of Resolute saying these things to us”).23
                            10            Discovery has confirmed the Greenpeace Defendants’ suspicions the Lessard Statement was
                            11   politically motivated, heavily influenced by Resolute, and published in direct coordination with
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                            12   Resolute—who filed this lawsuit the same day it was published. See Exs. 21 & 22; Ex. 23 at RFP-
                            13   0037903; Ex. 27 at RFP-0038642. Mr. Garneau, who was close enough with Minister Lessard to
                            14   email him at his personal email account, apparently convinced Lessard to publish a bizarre statement
                            15   defining the Montagnes Blanches as an area it had never before referred to as such; and which
                            16   actually contradicted the Ministry’s use of the Montagnes Blanches name from only a month prior,
                            17   and reduced that area by a fifth. See Ex. 2 (Forcier) at 286:5-16; see also id. at 224:19-225:22. And
                            18   the Ministry not only had “a vested interest in the forest industry,” it actively aided Resolute’s efforts
                            19   against Greenpeace Canada —even sending Minister Lessard’s Deputy Minister, Richard Savard,
                            20   abroad to Europe and North America to meet with Resolute customers following some of
                            21   Greenpeace Canada’s reports criticizing Resolute’s practices. See Ex. 30; Ex. 31 at RFP-0034722.
                            22            All in all, because they did not see the Lessard Statement as setting forth the only possible
                            23   permissible use of the term “Montagnes Blanches” or in any way undermining the accuracy of and
                            24
                                 23
                            25      The Greenpeace Defendants further found the Lessard Statement questionable because it
                                 contained material inaccuracies. See Ex. 11 (Moas) at 125:21-22 (noting it “ma[de] claims in here
                            26   that were not at all accurate to our understanding”); Ex. 10 (Daggett) at 204:18-205:7 (testifying
                                 that “[s]everal of the bullet points [in the Lessard Statement] are false,” including the allegation that
                            27
                                 the EFB Report “conflates forest fires with forest harvesting”); Ex. 37 (Marahrens) at 95:12-19
                            28   (disagreeing with statement that “Quebec is a world leader in responsible forest management,”
                                 noting that “if it would be responsible, . . . it wouldn’t allow the logging of old-growth forests”).
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                             1   science behind their Montagnes Blanches map, the Greenpeace Defendants did not see any need to
                             2   refrain from using the Montagnes Blanches term in the future. See Ex. 9 (Moas 30(b)(6)) at 203:10-
                             3   16 (“[W]e felt . . . strongly that we . . . had well-established data and information to make the claims
                             4   that we did and the map that we did,” thus, while “there was conversations about responding and
                             5   telling [Minister Lessard] that he didn’t understand [the EFB Report], . . . that was the extent of it”);
                             6   Ex. 11 (Moas) at 124:9-12 (“[W]e did not at all believe that it was necessary for us to change any
                             7   course of our campaigning”); Ex. 7 (Skar) at 232:12-233:7 (“[T]he place that was described in [the
                             8   Greenpeace Canada reports] . . . was tiered to values and data. . . . So I didn’t think the term
                             9   ‘Montagnes Blanches’ . . . couldn’t be applied to the endangered forest area” after the Lessard
                            10   Statement was published); Ex. 37 (Marahrens) at 111:4-112:4.
                            11          Accordingly, there is no evidence—let alone clear and convincing evidence—that the
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                            12   Greenpeace Defendants knew their use of the Montagnes Blanches term was false or acted with
                            13   reckless disregard as to its truth. To the contrary, they believed their Montagnes Blanches
                            14   boundaries were a scientifically credible depiction of an area of high ecological value in need of
                            15   protection from logging; and the politically-biased Lessard Statement—which talked past the issues
                            16   they were trying to address—did nothing to undermine this accuracy or preclude them from using
                            17   the term going forward. Because Resolute thus cannot meet “the heavy burden of proving actual
                            18   malice,” “the First Amendment makes it incumbent upon the Court to grant defendant’s motion
                            19   for summary judgment.” Cerrito, 302 F. Supp. at 1075–76.
                            20   D. Plaintiffs Have Not Incurred Any Special Damage from the Challenged Statements.

                            21          Under California law, even a false and defamatory statement is not actionable unless it “has

                            22   a natural tendency to injure (libel per se) or causes special damages.” Subhani v. JPMorgan Chase

                            23   Bank, Nat. Ass’n, No. C 12-01857 WHA, 2012 WL 1980416, at *7 (N.D. Cal. June 1, 2012).

                            24   Resolute did not plead a claim for libel per se (see Am. Compl.); and even if it had, a statement

                            25   cannot constitute libel per se where, as here, it is “susceptible of an innocent interpretation.” Smith,

                            26   72 Cal. App. 4th at 646 n.4; see also Song fi Inc. v. Google, Inc., 108 F. Supp. 3d 876, 888 (N.D.

                            27   Cal. 2015) (a statement can only be libelous per se if the defamatory meaning “appears from the

                            28   language itself without the necessity of explanation or the pleading of extrinsic facts”). Here, as

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                             1   established in Section IV.A supra, the Challenged Statements are incapable of defamatory meaning
                             2   because they in no way imply that Resolute was operating illegally; and as demonstrated in Section
                             3   IV.B, the term “Montagnes Blanches” is also capable of multiple meanings. Accordingly, these
                             4   statements cannot constitute defamation per se.
                             5          Because the Challenged Statements are not defamatory per se, Resolute must prove the
                             6   Statements proximately caused it to incur special damages—i.e., “damages that plaintiff alleges and
                             7   proves that he or she has suffered in respect to his or her property, business, trade, profession, or
                             8   occupation, including the amounts of money . . . expended as a result of the alleged libel, and no
                             9   other.” Cal. Civ. Code § 48a(d)(2); see also § 45 (“Defamatory language not libelous on its face is
                            10   not actionable unless the plaintiff alleges and proves that he has suffered special damages as a
                            11   proximate result thereof.”). Special damages must be established “precisely,” Gomes v. Fried, 136
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                            12   Cal. App. 3d 924, 940 (1982), and “with particularity,” Peabody v. Barham, 52 Cal.App.2d 581,
                            13   585 (1952), overruled on other grounds. See also Fed. R. Civ. P. 9(g) (requiring that special
                            14   damages be “specifically stated.”). A “general allegation of the loss of a prospective employment,
                            15   sale, or profit will not suffice.” Pridonoff v. Balokovich, 36 Cal. 2d 788, 792 (1951). A plaintiff
                            16   must also establish “the specific manner in which he lost business as a result of the defamation.”
                            17   Gang v. Hughes, 111 F. Supp. 27, 29 (S.D. Cal. 1953). This requires Resolute to both “identify
                            18   specific customers and transactions that have failed because of the alleged statements,” Doe v.
                            19   Fitzgerald, Case No. CV 20-10713-MWF, 2022 WL 2784805, at *10 (C.D. Cal. May 13, 2022),
                            20   and identify how its alleged damages resulted from the statements. Anderson v. Hearst Publ’g Co.,
                            21   120 F. Supp. 850, 852 (S.D. Cal. 1954). These are “rigorous requirements of proof of damage.”
                            22   Erlich v. Etner, 224 Cal. App. 2d 69, 73 (1964). This standard is not satisfied by a “mere
                            23   conclusion” or “guess” about purported losses, or by showing a generalized decline in business. Id.
                            24   at 75. As Resolute has failed to establish damages flowing from either of the Challenged Statements,
                            25   neither is actionable. Bartholomew v. YouTube, LLC, 17 Cal. App. 5th 1217, 1232 (Cal. Ct. App.
                            26   2017) (libel claim that “cannot reasonably be understood as imputing any particular wrongdoing to”
                            27   plaintiff absent extrinsic facts fails for lack of special damages).
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                             1          First, Resolute cannot prove any of the categories of damages identified by its expert because
                             2   it cannot show that any of those purported damages were caused by the Defendants in this case
                             3   rather than other entities, or that the damages were caused by the Challenged Statements rather than
                             4   any of the other 294 statements Resolute previously alleged were defamatory, or as a result of other
                             5   factors. Cf. Erlich, 224 Cal. App. 2d at 75 (plaintiff must establish damages “attributable to the
                             6   publications for which [defendant] was responsible”); First Advantage Background Servs. Corp. v.
                             7   Private Eyes, Inc., 569 F. Supp. 2d 929, 938 (N.D. Cal. 2008) (requiring plaintiff to establish those
                             8   damages it claims to have suffered “just as a result of the libelous statements”) (emphasis added).
                             9   Resolute’s damages expert attributes damages generally to what she calls the “Greenpeace
                            10   Campaign,” which she defines to include both Defendants and Greenpeace Canada, along with
                            11   various statements made by Defendants between 2012 and 2017 that the Court has already struck.
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                            12   Ex. 47 ¶¶ 20; 142-230; 144 (describing Greenpeace Canada’s exit from the CBFA as the “start of
                            13   the Greenpeace Campaign against RFP that commenced in 2012”). Resolute’s expert readily admits
                            14   she made no effort to separate the impact of Greenpeace Canada’s conduct from Defendants’
                            15   conduct in calculating damages. Ex. 48 (Murray) at 247:10-248:4; 249:14-18; 251:15-252:2. She
                            16   also acknowledges her analysis does not calculate damages resulting from the Challenged
                            17   Statements alone. Id. at 254:4-255:5; 113:1-114:5; Ex. 57, Expert Report of Michael J. Wallace
                            18   (“Wallace Report”) ¶ 13. Nor did she even attempt to account for other factors, such as Resolute’s
                            19   loss of FSC certifications. Ex. 48 (Murray) at 129:14-130:9; Ex. 57 ¶¶ 54-59. Resolute thus has
                            20   not shown “what amount of that total is attributable to the libelous statements” and consequently
                            21   cannot prove special damages. Homeland Housewares, LLC v. Euro-Pro Operating LLC, CV 14-
                            22   03954 DDP, 2014 WL 6892141, at *4 (C.D. Cal. Nov. 5, 2014) (such a showing does not satisfy
                            23   special damages requirements). See also Cal. Civ. Code § 48a(d)(2) (party must show the damages
                            24   it has “suffered… as a result of the alleged libel, and no other”).
                            25          Second, Resolute cannot prove that any of the lost profits it claims related to seven pulp
                            26   customers were proximately caused by the Challenged Statements. For each of the customers,
                            27   Resolute either does not seek damages from any time after the first Challenged Statement was
                            28   published or has conceded the customer made the decision to stop or reduce its purchasing from
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                             1   Resolute before the Challenged Statements were published.24 Ms. Murray opined that post-
                             2   December 2016 damages should nonetheless be compensable because “Resolute would have been
                             3   in a much better position to recover their lost contracts in the absence of the Challenged Statements.”
                             4   Ex. 48 (Murray) at 112:7-114:5. In support of this novel theory, however, Resolute has offered no
                             5   evidence whatsoever that any customers ever told anyone at Resolute as much, and it is required to
                             6   prove causation “by something more than [its] own guess as to what had gone on in his former
                             7   customers’ minds, where that mental operation was entirely uncommunicated to him . . . .” Erlich,
                             8   224 Cal. App. 2d at 75. Compounding this failure, Resolute also has offered no documentary
                             9   evidence that six of the seven pulp customers ever received either of the Challenged Statements, or
                            10   that any of the seven ever told Resolute they did, let alone that they changed their purchasing patterns
                            11   as a result. Further, Resolute’s expert failed to consider alternative causes for any changes in
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                            12   customers’ purchasing patterns. For example,
                            13

                            14                                                                . Ex. 57 ¶¶ 96-99. This is precisely the
                            15   kind of “mere conclusion” or “guess” about purported losses that does not satisfy special damages.
                            16   Erlich, 224 Cal. App. 2d at 75.
                            17            Third, Resolute cannot prove any out-of-pocket costs associated with Project GATE or
                            18   Project RICO, or any management diversion costs, were proximately caused by the Challenged
                            19   Statements. Resolute has failed for each category to even attempt to calculate the amount of
                            20   damages flowing from the Challenged Statements alone, and instead simply offers the total costs
                            21   that “wouldn’t have been incurred but-for the Greenpeace Campaign,” lumping in costs associated
                            22   with responding to statements made by non-Defendants and statements other than the Challenged
                            23   Statements.25 Ex. 48 (Murray) at 247:10-248:4; 249:14-18; 251:15-252:2; 254:4-255:5. And
                            24
                                 24
                            25        Ex. 47 ¶ 263

                            26

                            27
                                                                    .
                                 25
                            28     Ms. Murray conceded these categories of costs included costs Resolute paid to litigate the
                                 Canadian Action, costs spent litigating the struck RICO claims in this case, and costs spent
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                             1   Resolute has not offered any information specifying exactly what went into the Project
                             2   GATE/Project RICO calculations, because its expert instead simply relied on numbers Resolute
                             3   provided her, but failed to produce in fact discovery, making it impossible to test the costs. Id. at
                             4   257:8-259:23. Similarly, for the management diversion costs, Resolute’s expert simply assigned
                             5   each of 14 Resolute employees a percentage of purportedly diverted time (which remains the same
                             6   year over year) and then multiplied that percentage by each employee’s salary. Ex. 47 ¶¶ 364-373.
                             7   This is not sufficient for special damages. Nunes v. CNN, 520 F. Supp. 3d 549, 561 (S.D.N.Y. 2021)
                             8   (applying California law and explaining that a “general ‘monetary demand stated in round numbers
                             9   is generally not considered to reflect the specific damages required of special damages’” which
                            10   instead require the plaintiff “explain what the damages comprise or how they are calculated”).26
                            11   E. Resolute’s UCL Claim Must Be Dismissed as Well.
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                            12          In the MTD Order, the Court made clear that Resolute failed “to state a claim for unfair

                            13   competition, other than the instances of adequately pleaded defamation in 2016 and 2017,” i.e., the

                            14   Challenged Statements. MTD Order at 10 n.7; see also id. at 26. Accordingly, because now, at the

                            15   summary judgment stage, Resolute’s defamation claim fails, the UCL claim based on the defamation

                            16   claim too must fail. See Caraccioli v. Facebook, Inc., 167 F. Supp. 3d 1056, 1064 (N.D. Cal. 2016)

                            17   (“Plaintiff’s UCL claim is tethered to the allegations stated for his other claims. . . . As those claims

                            18   fail, so does the one for violation of the UCL”), aff’d, 700 F. App’x 588 (9th Cir. 2017); see also

                            19   Holomaxx Techs. v. Microsoft Corp., 783 F. Supp. 2d 1097, 1108 (N.D. Cal. 2011).

                            20                                          V.      CONCLUSION

                            21          For the foregoing reasons, Defendants request that this Court grant their motion for summary

                            22   judgment and dismiss the case.

                            23   Dated: December 19, 2022

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                            25   counteracting statements by other ENGOs. Ex. 48 (Murray) at 247:10-248:4; 249:14-18; 251:15-
                                 252:2; 254:4-255:5.
                            26   26
                                    The rest of Resolute’s theories are doomed because it has not quantified any purported damages
                                 associated with them, and instead claims it may produce testimony at trial supporting each, Ex. 47
                            27
                                 ¶¶ 347-352, 387, which is insufficient for special damages. New.Net, Inc. v. Lavasoft, 356 F. Supp.
                            28   2d 1090, 1113 (C.D. Cal. 2004) (“simply refer[ring] to an amount to be ascertained at trial” is not
                                 sufficient for special damages).
                                                                                 40
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                             2
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                                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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